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                   EXHIBIT 11
                 PUBLIC VERSION -
      CONFIDENTIAL MATERIAL OMITTED IN FULL
Case 1:20-cv-01191-WCB Document 385-3 Filed 02/26/24 Page 2 of 39 PageID #: 13971




                   EXHIBIT 12
                   PUBLIC VERSION -
            CONFIDENTIAL MATERIAL OMITTED
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                                                                           Page 1
                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE




    RYANAIR DAC,                  )
                                  )
                  Plaintiff,      )
                                  )
            v.                    ) Case No.
                                  ) 1:20-CV-01191-WCB
    BOOKING HOLDINGS INC.,        )
    BOOKING.COM B.V., KAYAK       )
    SOFTWARE CORPORATION,         )
    PRICELINE.COM LLC, and AGODA )
    COMPANY PTE. LTD.,            )
                                  )
                 Defendants.      )
    ______________________________)

     HIGHLY CONFIDENTIAL PURSUANT TO THE PROTECTIVE ORDER


               Video-recorded videoconference deposition
    of TIMOTHY J. O'NEIL-DUNNE, taken remotely on behalf of
    the Plaintiff, beginning at 9:03 a.m. and ending at
    5:24 p.m., on Tuesday, September 26, 2023, before
    JOANNA B. BROWN, Certified Shorthand Reporter No. 8570,
    RPR, CRR, RMR.
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 1            APPEARANCES                                       1              INDEX
 2   FOR THE PLAINTIFF:                                         2   EXAMINATION OF:                        PAGE
 3       HOLLAND & KNIGHT LLP                                   3   TIMOTHY J. O'NEIL-DUNNE
         BY: CYNTHIA A. GIERHART, ESQ.                          4
 4       800 17th Street NW, Suite 1100                         5          BY MS. GIEHART                 7
         Washington, DC 20011                                   6
 5       (202) 569-5416                                         7
         cindy.gierhart@hklaw.com                               8                EXHIBITS
 6
     FOR THE DEFENDANTS:
                                                                9   PLAINTIFF'S                          PAGE
 7                                                             10   Exhibit 125 Expert Report of            52
         COOLEY, LLP                                                        Timothy James O'Neil-Dunne
 8       BY: ALEXANDER J. KASNER, ESQ.                         11           (55 pages)
         1299 Pennsylvania Avenue, NW, Suite 700               12   Exhibit 126 Booking.com B.V.'s Supplemental   52
 9       Washington, DC 20004                                               Responses and Objections to
         (202) 842-7800                                        13           Plaintiff Ryanair DAC's
10       akasner@cooley.com                                                 Interrogatory No. 2 (14 pages)
11       COOLEY, LLP                                           14
         BY: KATHLEEN R. HARTNETT, ESQ.                             Exhibit 127 Twitter post by Mr. O'Neil-Dunne 138
12          KRISTINE FORDERER, ESQ.                            15           (1 page)
         3 Embarcadero Center, 20th Floor                      16   Exhibit 128 "Advantages and Disadvantages of 201
13       San Francisco, California 94111-4004                               Online Travel Agencies (OTAs)"
         (415) 305-6527                                        17           (16 pages)
14       khartnett@cooley.com                                  18   Exhibit 129 "Web Scraping for Hospitality   226
         kforderer@cooley.com                                               Research: Overview,
15
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     ALSO PRESENT:
16                                                                          (16 pages)
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17                                                                  Exhibit 130 August 10, 2008,          236
18                                                             21           "Professor Sabena's Blog"
19                                                                          (1 page)
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 1                EXHIBITS                                      1          Remotely; Tuesday, September 26, 2023
 2    PLAINTIFF'S                          PAGE                 2                 9:03 a.m.
 3    Exhibit 132 April 16, 2009,              258              3
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                                                                4               (TIMOTHY J. O'NEIL-DUNNE,
 4            (1 page)
 5    Exhibit 133 "Legal and Ethical Issues of     266          5            deponent, was sworn and examined
              Collecting and Using Online                       6              and testified as follows:)
 6            Hospitality Data" (9 pages)                       7
 7    Exhibit 134 "THE BUSINESS IMPACT OF              271      8         THE VIDEOGRAPHER: We are now on the record.
              WEBSITE SCRAPING: IT'S PROBABLY                   9   This begins Media File No. 1 in the deposition of
 8            BIGGER THAN YOU THINK - HERE'S                   10   Timothy O'Neil-Dunne. We are taking this deposition
              WHY" (10 pages)
 9                                                             11   remotely via Zoom in the matter of Ryanair DAC versus
10                                                             12   Booking Holdings, Inc., et al., filed in the
11                                                             13   U.S. District Court for the District of Delaware,
12               UNANSWERED QUESTIONS                          14   Case No. 1:20-CV-01191-WCB.
13                PAGE LINE                                    15         Today is September 26, 2023. The time is
14                 (None.)                                     16   9:03 a.m. I am Theresa Majers, the videographer, from
15
16                                                             17   Magna Legal Services. The court reporter is
17                                                             18   Joanna Brown also with Magna Legal Services.
18                                                             19         Counsel, please introduce yourselves and who
19                                                             20   you represent starting with the questioning attorney.
20                                                             21         MS. GIERHART: Cynthia Gierhart on behalf of
21                                                             22   Ryanair.
22
23
                                                               23         MR. KASNER: Alex Kasner of Cooley, LLP, on
24                                                             24   behalf of defendants. I have with me Kathleen Hartnett
25                                                             25   also of Cooley, LLP, on behalf of defendants,




                                                                                                        2 (Pages 2 to 5)
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                                                  Page 114                                                       Page 115
 1    have a technical ability to distribute their products      1   of the Internet as a -- as a channel of distribution
 2    through GDSs for a typical impediment. There were          2   and the emergence of airlines being able to distribute
 3    other airlines who chose not to participate even though    3   their content outside of the GDS sort of occurred about
 4    they could do so.                                          4   the same time.
 5       Q And did those airlines have content available         5   BY MS. GIERHART:
 6    through some computer system where a travel agent could    6       Q Okay. All right. I think, just to wrap up
 7    use some technology to go access it?                       7   this Section 4, if we could actually just look at this,
 8          MR. KASNER: Object to the form.                      8   on page 5 of your report, actually going up, there's a
 9          THE WITNESS: So pre-Internet, if you had an          9   little summary for each section. So I just want to
10    airline who didn't have access to the GDS and there was   10   look at the summary for Section 4. Okay. So that's
11    no Internet, there was only one -- there were only two    11   page 5, the paragraph that starts "First."
12    other possible forms of access: one was to walk into a    12          So you say "The development of modern airline
13    physical location, and the other one was by the phone.    13   ticket distribution -- split between direct and
14    BY MS. GIERHART:                                          14   indirect distribution can be traced through decades of
15       Q All right. So I think, then, it's -- it's            15   history."
16    sort of a post-Internet scenario where a travel agent     16          So I think you are saying here airlines have
17    would use some technology to access an airline's          17   been selling flights through travel agents and -- for
18    content outside of a GDS or through an agreement with     18   decades. Is that, sort of, the first conclusion?
19    the airline direct?                                       19       A Yes. I can wax lyrically about how that
20          MR. KASNER: Object to the form.                     20   occurred; but, yes, that's for airline tickets. Yes,
21          THE WITNESS: Okay. So there's been --               21   there were decades of history where travel agents sold
22    there's a lot of theory about did the airlines'           22   tickets on behalf of the airlines.
23    websites make the Internet very strong, or did the        23       Q And that doesn't distinguish between -- well,
24    Internet make the airlines' websites very strong?         24   you just said selling tickets on behalf of the airline.
25          I think they are symbiotic. So the emergence        25          So this doesn't involve selling tickets
                                                  Page 116                                                       Page 117
 1    without the airlines' permission; right?                   1   existed. It existed far more in places like Europe and
 2          MR. KASNER: Object to the form.                      2   Asia than it did in the U.S., but it was definitely
 3          THE WITNESS: That is correct.                        3   something that happened.
 4    BY MS. GIERHART:                                           4   BY MS. GIERHART:
 5       Q Okay. So there's not a history for decades of         5      Q And your report does not make a distinction in
 6    travel agents selling airlines' tickets without their      6   this early period of a long history of travel agents
 7    permission?                                                7   selling tickets on behalf of airlines.
 8          MR. KASNER: Object to the form.                      8         Your report doesn't make a distinction between
 9          THE WITNESS: That's not actually true. There         9   authorized and unauthorized sales; right?
10    was a very robust gray market where travel agents who     10         MR. KASNER: Object to the form.
11    did have the right to issue tickets distributed theirs    11         THE WITNESS: What I was addressing in my
12    to subagents and had a wider network than their own       12   report -- I think I was very explicit about this -- was
13    agents. There's a term used which is called               13   really about the U.S. market and about the more
14    "consolidators" or "consolidation," and consolidators     14   conventional, mainstream ways that airline tickets were
15    would actually sell to large numbers of travel agents.    15   distributed. So I didn't want to go into that level of
16    And the airlines actually liked it because it was a way   16   detail.
17    for them to sell unused or wasting inventory to a         17         There are many, many different exceptions that
18    broader market that wasn't necessarily fully just a       18   are possible in these cases. I have tried to avoid
19    regular travel agency.                                    19   doing that so that we would have a report that was only
20    BY MS. GIERHART:                                          20   25 pages as opposed to one that could be several
21       Q So it was a bit of off-market selling, but the       21   hundred pages long.
22    airlines kind of supported it regardless?                 22   BY MS. GIERHART:
23          MR. KASNER: Object to the form.                     23      Q Right. Okay. But -- so the -- you are saying
24          THE WITNESS: Some. I said some. And I want          24   you were focusing on the mainstream. Sort of a
25    to be very cautious that that -- that marketplace         25   standard protocol of the time was -- in the




                                                                                       30 (Pages 114 to 117)
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                                                  Page 118                                                       Page 119
 1    pre-Internet era was for travel agents to work             1      Q I'm sorry. A consolidator?
 2    through -- to sell airline tickets through approved        2      A Sorry. These -- these companies who sell
 3    methods, which were through GDSs, which had agreements     3   tickets through different forms rather than the
 4    with airlines.                                             4   conventional form, there are a number of these forms
 5           Is that -- that's the standard procedure at         5   that now exist for different reasons. There has always
 6    that time?                                                 6   been alternative forms, and -- but when we are talking
 7           MR. KASNER: Object to the form.                     7   about, as I put in the report, the development of the
 8           THE WITNESS: That was the way that it               8   modern airline ticket system, it was conventionally
 9    actually happened. That would be a good                    9   seen as being airline talked to GDS, talked to travel
10    characterization, yes.                                    10   agent, and, then, customers came in and bought tickets
11    BY MS. GIERHART:                                          11   from the travel agent. That was the indirect form of
12       Q Okay. Okay. So your report, sort of, focuses         12   distribution.
13    on the mainstream, authorized sales of airlines through   13      Q Okay. Okay. And, then, this, sort of, second
14    travel agents?                                            14   part of this paragraph is also, then, talking about
15           MR. KASNER: Object to the form.                    15   what we were just talking about, I think. With direct
16           THE WITNESS: With the caveat that the way          16   distribution and indirect distribution, they have
17    that I described this was I focused on the                17   existed for at least a half a century with the latter
18    United States market, which, as I said, is different      18   using screen emulation and screen-scraping technology
19    from different countries in different jurisdictions.      19   for decades.
20    BY MS. GIERHART:                                          20         So, the second point, we are talking about,
21       Q Right. Okay. But that was the case in the            21   sort of, the advent of screen-scraping technology.
22    U.S. market?                                              22   This was an early form where it was manipulation of
23       A The majority, yes. I mean, there were                23   content that the travel agents already had access to
24    consolidations in the U.S. too, and they are fairly       24   through their relationship with the GDSs; right?
25    well known. Some of them still exist.                     25         MR. KASNER: Object to the form.
                                                  Page 120                                                       Page 121
 1           THE WITNESS: You, kind of, concatenated lots        1         THE WITNESS: I'll disagree with that because
 2    of things. Can you unpack that maybe a little bit?         2   the ability to bring other forms of information, again,
 3    BY MS. GIERHART:                                           3   pre-Internet was there were physical sources of
 4       Q Sure. I think in the -- in the -- in your             4   information that existed. So someone might, for
 5    opinion about screen-scraping technology having been       5   example --
 6    used for decades by travel agents, the early form          6         Let me try and use an example for this. I
 7    pre-Internet was limited to manipulating content that      7   might say that, here in this travel agency, I don't
 8    travel agents already had from the GDS; is that right?     8   want you to use United Airlines, and that was a
 9           MR. KASNER: Object to the form.                     9   directive from the management of the travel agency even
10           THE WITNESS: I can answer the question this        10   though the travel agency was perfectly able to do that.
11    way: because the travel agents used only the GDS as       11         It was possible through manipulating the
12    their primary form of interactive system, therefore,      12   screen to eliminate United Airlines out of the
13    the manipulation of screen emulation was based upon the   13   displays. That's a possibility. That's a good
14    data that was entirely controlled from the GDS down to    14   scenario to illustrate how manipulation of the data
15    the terminal. There was nothing between the two.          15   that was coming to and from could actually change what
16           When you had a PC and you could emulate the        16   was happening at the agents' workstation.
17    screen, then the possibility started to exist because     17   BY MS. GIERHART:
18    there was now an intelligence that sat at the remote      18      Q Right. I understand that as a removal of
19    end of the communication, and that was screen emulation   19   content. I just meant obtaining raw data. Where the
20    initially, and, then, it went to screen manipulation.     20   content comes from was from the GDS. That's all I
21    BY MS. GIERHART:                                          21   meant. These early, you know, stages of
22       Q Right. Okay. I guess I was just making the           22   screen-scraping technology didn't yet involve -- and I
23    distinction, it didn't involve yet going out and          23   think we said because of the example with Russia, or
24    getting content from somewhere else?                      24   you only sell by phone by GDS. By going in person,
25           MR. KASNER: Object to the form.                    25   there was -- there just wasn't yet a way for travel




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                                                              Page 122                                                    Page 123
 1    agents to get content before the Internet if it                     1         MS. GIERHART: Okay.
 2    didn't --                                                           2         THE WITNESS: In fact, there are ways to
 3       A Actually, there was.                                           3   manipulate the GDS to actually show what is known as
 4          MR. KASNER: Object to the form.                               4   schedule data only -- sorry -- schedule data only,
 5          THE WITNESS: Sorry.                                           5   which is possible if you know how to manipulate the
 6          Actually, there was. There's a service on                     6   GDS.
 7    which the GDSs are based, which is called the "OAG."                7   BY MS. GIERHART:
 8    The OAG stands for the "Official Airlines Guide." And               8       Q So it would be the equivalent, say, of getting
 9    the OAG publishes schedules for most airlines whether               9   flight itinerary information or route information but
10    they participate or not. Therefore, I could have                   10   not -- there was no ability, you know, to book flights
11    access -- and I, in fact, remember doing this -- where             11   or issue tickets. Then, you said, you'd have to call
12    you could bring in the information on dial-up to the               12   or, you know --
13    OAG source, and you could see that there was, in fact,             13       A Yes.
14    other airlines who were operating at that particular               14       Q -- use some other method?
15    moment on a particular route, who might not be                     15         MR. KASNER: Object to the form.
16    participating inside a GDS.                                        16         THE WITNESS: That's a good way to describe
17          And, therefore, you would now be able to say                 17   it.
18    "Ah, I see that that can happen. How do I get access               18         MS. GIERHART: Okay.
19    to that" -- "How can I make a booking?"                            19         THE WITNESS: But I just would caution you
20          Well, it will say -- you won't know that from                20   about the, no, not possible because there was always
21    the OAG because the OAG only published schedule data.              21   somebody somewhere in some garage who was tinkering and
22    It didn't publish any inventory data.                              22   trying to do things. So I would just say it was
23          And, therefore, I can go and say "Ah. But I                  23   definitely not mainstream. Mainstream was the GDS
24    can see how this flight exists. Let me see how I can               24   activity.
25    get access to it, probably by the phone."                          25   BY MS. GIERHART:
                                                              Page 124                                                    Page 125
 1      Q Right. Right. Okay. All right. I'll start            1                 Q Okay. So in this -- in this -- all right.
 2    going just a little bit into Section 5, and, then, we    2              So 5.1, we are talking about direct distribution, and
 3    can take a break. Okay.                                  3              you note in here -- I'm trying to find the exact
 4           So Section 5 is now -- so, now, we are moving     4              wording. All right. The second sentence, "This
 5    into the "MODERN METHODS FOR BOOKING CONSUMER TRAVEL." 5                channel gives airlines the most control over their
 6    It starts on page 9 of your report.                      6              pricing and marketing, and it allows them to collect
 7           And, yeah, actually, just to clarify because,     7              customer data that can be used to improve their loyalty
 8    when I was reading this, I just wanted to make sure,     8              programs and targeted marketing campaigns."
 9    this first paragraph under -- under Section 5 at the     9                     Why -- we talked about this a little before,
10    very top of the page, it says -- this section begins by 10              but why might an airline want to control their pricing
11    discussing, sort of, direct and indirect distribution,  11              and marketing?
12    which I see, in Section 5, it says -- it then discusses 12                     MR. KASNER: Object to the form.
13    how an airline's business model will drive an airline's 13                     THE WITNESS: For many different reasons.
14    decision to encourage and pursue a particular mode of   14              Targeting is, as I've put in here, targeting of
15    distribution. I think that's Section 6.                 15              products and services and marketing.
16           Can you confirm if that's what you meant?        16                     The loyalty issue is a big one because, prior
17       A Let me have a quick look. Because it is a          17              to the Internet, loyalty was not as precise a science
18    comparison to -- when I get into Section 6, I go more   18              as it is today. So the target -- the control is
19    into the details, which is the airline distribution     19              something that the airlines wish to exert because, if
20    preference. And, then, I break that out into the        20              they feel that they can keep a captive customer, they
21    full-service and low-cost carriers. So I try to focus   21              feel that they can leverage that customer to become
22    Section 5 on probably the context of indirect           22              more valuable to them as a supplier.
23    distribution and then into the detail because airlines  23              BY MS. GIERHART:
24    were more important for the context of this report is   24                 Q Why might an airline want to collect customer
25    why I created the whole extra section in 6.             25              data?




                                                                                               32 (Pages 122 to 125)
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                                                  Page 218                                                       Page 219
 1    talking about OTAs being beneficial for the purpose of     1          So that isn't talking about booking. This
 2    comparing flight information, not necessarily booking?     2   particular section does not refer to booking. That is
 3    But -- so when you are talking about                       3   correct.
 4    information-sharing, aggregation, is that all just         4      Q Okay. Okay. And, then, going to the next
 5    related to comparing flights?                              5   section regarding screen scraping as an information
 6          MR. KASNER: Object to the form.                      6   aggregation tool, so now we get to the question of how
 7          THE WITNESS: In general, yes, but it also            7   do you define "screen scraping" as used in this report?
 8    applies to other forms of travel information like          8      A Right. So I tried to come up with a succinct
 9    hotels.                                                    9   element here. So screen scraping -- I actually prefer
10    BY MS. GIERHART:                                          10   the term "screen pausing" because, if you think about a
11       Q Okay. But it's not referring to a benefit to         11   screen, going back to our emulation story, when we were
12    the customer of booking flights through an OTA; right?    12   dealing with emulation, we were only dealing with
13       A This section is just dealing with the                13   characters/text that was on the screen.
14    information-sharing and aggregation, those two things     14          When you move to a PC in today's highly dense
15    brought together.                                         15   pixel 4K TV screen and 4K computer screen, 104- --
16       Q Okay. So -- okay. So you -- I just want to           16   1080P or whatever this is, you could be looking at the
17    clarify and make sure. So the opinion does not            17   entire screen and say "Well, am I looking at just the
18    indicate any reason why booking a flight on an OTA is     18   screen with every pixel, every color, or whatever; or
19    preferable to booking a flight through an airline?        19   am I looking at the information?"
20       A If you look at the penultimate paragraph under       20          So screen scraping could encompass the whole
21    7.2 on page 15, "From a consumer (i.e., traveler)         21   of that screen including the bits down at the bottom.
22    perspective, OTAs can provide a powerful                  22   I just see it on my screen. I've got a weather app.
23    information-gathering and presentation tool, helping      23   I'm not going to use that because that's not really
24    consumers by compiling and comparing different flight     24   relevant to us.
25    itinerary and fare information," also known as offers.    25          Screen pausing is taking data that is relevant
                                                  Page 220                                                       Page 221
 1    out -- that's why I prefer to use that term -- which is    1   I put in here, the process extracts data from a
 2    the process of -- it's automating the process of           2   computer screen by reading the pixels, starting at that
 3    accessing a web service and recording or                   3   level, on the screen and converting those into the --
 4    scraping/pausing the information displayed on the          4   and getting rid of the unnecessary stuff into text or
 5    screen.                                                    5   other data formats that can then be used.
 6           So, when we are looking at the website, I'm         6          So, in this particular case, you described a
 7    looking at the data as opposed to all of the different     7   series of elements that one can find on an airline
 8    pixels.                                                    8   website such as flight information, times, or whatever
 9       Q Okay. It seems limited to visual data that            9   it might be and pulling that into and then making that
10    you'd see on the website, but, then, you scrape or        10   available.
11    pull; is that correct?                                    11   BY MS. GIERHART:
12       A Yeah. It's --                                        12      Q Okay. And would you call it something
13           MR. KASNER: Object to the form.                    13   different, the process of -- of OTAs actually booking
14           THE WITNESS: Sorry. It's the data as opposed       14   the flights?
15    to whether it's green screen, green type, white on        15          Connecting to the API and booking a flight, is
16    green, or yellow on black. Yes. It's related to the       16   that called -- that's not screen scraping, but that's
17    data that's in there rather than just the pixels.         17   something else?
18    BY MS. GIERHART:                                          18          That's booking a flight; is that accurate?
19       Q Okay. And in relation to OTAs and airlines           19          MR. KASNER: Object to the form.
20    referring to screen scraping here, present day, would     20          THE WITNESS: So consider that you -- we are
21    refer to pulling light itineraries and routes, maybe      21   doing two different things here. So the first thing,
22    ancillary options, pulling all of that data?              22   screen scraping, per se, is just grabbing the data,
23           That's all screen scraping; right?                 23   bringing it into an area that makes it usable. That's
24           MR. KASNER: Object to the form.                    24   screen scraping.
25           THE WITNESS: So screen scraping this, and as       25          When you are doing something else like you are




                                                                                       56 (Pages 218 to 221)
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                                                  Page 222                                                       Page 223
 1    manipulating the data or doing something with it as I      1   an API, an API is essentially -- the key term is
 2    describe in some of the elements below, then that's        2   the "I." That's the interface. So an application
 3    different. Then I'm now processing the information in      3   programming interface means it's bidirectional. So I
 4    the same way that I would if I was a human on the          4   can get stuff, and I can put stuff.
 5    machine.                                                   5         When I'm screen scraping, screen pausing, I'm
 6    BY MS. GIERHART:                                           6   grabbing the data. I'm only doing one of those
 7       Q Well, there's processing information, and,            7   functions, whereas, an API, you have to do both.
 8    then, there's also -- or there's also connecting to an     8   BY MS. GIERHART:
 9    API to book a flight.                                      9      Q Right. Okay. And so I think -- I just wanted
10           Would you consider that part of the                10   that understanding going into, then, the next part of
11    screen-scraping process or something else separate?       11   the report. For example, it talks about screen
12           MR. KASNER: Objection to the form.                 12   scraping offers several key benefits. So I just wanted
13    Testifying. Foundation.                                   13   to understand that when you are saying screen scraping
14           THE WITNESS: So I think what I've described        14   offers benefits, we are talking about going and pulling
15    is you need to get a hold of information before you can   15   data from airlines and displaying -- well, maybe not
16    do something with it. Once I've got the information       16   even displaying it. That might be a Step 2.
17    into a work -- let's call it a work area -- then I can    17         But the act of pulling data from an airline's
18    do something with that data.                              18   website is what you are talking about when you -- when
19           So, if I'm going to use it and redisplay it,       19   you say "Screen scraping offers several key benefits";
20    that's an action. Then the screen-scraping effort is      20   is that right?
21    done. I haven't manipulated the data, or I might have     21      A That's correct.
22    manipulated the data and put it somewhere, but I'm not    22      Q Okay.
23    interacting with the place where I got the data.          23      A In fact, if I can, sort of, look at the title
24           MS. GIERHART: Okay. I think I understand.          24   of 7.2.1, which is screen scraping as an information
25           THE WITNESS: See, an API -- when you describe      25   aggregation tool --
                                                  Page 224                                                       Page 225
 1       Q Uh-huh.                                               1   varied.
 2       A -- grabbing the information from different            2      Q Okay. I think while -- I'm going to go to
 3    sources using screen scraping as one of the techniques,    3   Exhibit -- the next exhibit, which is your article
 4    that's what I'm trying to get across.                      4   referenced in Footnote 14, the second one, the Han and
 5       Q Okay. You go through the key benefits.                5   Anderson article --
 6           Did you consider the downsides of scraping in       6      A Uh-huh.
 7    forming your opinion?                                      7      Q -- which is going to be Exhibit 129.
 8       A Yes.                                                  8         (Deposition Exhibit 129 was electronically
 9           MR. KASNER: Objection to the form.                  9         received and marked for identification.)
10    Foundation.                                               10   BY MS. GIERHART:
11    BY MS. GIERHART:                                          11      Q Okay. Do you see that?
12       Q Okay. What downsides did you consider?               12      A I'm there. Where would you like me to go?
13       A There's many different downsides -- two              13      Q Okay. Can you go to page 102 of the article.
14    potential downsides. Whether or not those downsides       14      A Well, this was -- hold on a second because the
15    are particularly important or not depends on the use.     15   way it's coming up is I've only got to page 16.
16    So I think it sort of depends. The question, I think,     16      Q Oh, sorry. It's page 14 of 16.
17    overall is to consider the benefits in total as           17      A Okay.
18    aggregate -- sorry -- not aggregate but unbalanced.       18      Q It says 102 at the top.
19           Is screen scraping a useful capability to          19      A Oh, I see. Yes. Understood.
20    bring information in that can then be manipulated by      20      Q Okay. So this page of the article talks about
21    the human or by a machine?                                21   "Ethical Concerns."
22           Screen scraping is a very common tool for          22         Do you see that?
23    doing that, and I described that.                         23      A I do.
24           But, yes, I did consider alternatives, which       24      Q Actually, sorry to make you jump. I should
25    is not just there are downsides to it, which can be       25   just go to the title of the article so we know -- have




                                                                                       57 (Pages 222 to 225)
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                                                  Page 226                                                       Page 227
 1    some context. So the article is entitled "Web Scraping     1   there is legalized screen scraping; right?
 2    for Hospitality Research: Overview, Opportunities, and     2          So the question of this particular question --
 3    Implications." So, in that context, we are talking         3   this particular issue about whether this behavior
 4    about web scraping and ethical concerns related to it.     4   violates the terms of service or not, I think, is an
 5          Do you remember reading this when you were           5   interpretation that these guys who wrote the article
 6    writing your report?                                       6   had. And since web scraping -- screen scraping is such
 7       A Yes. And -- I do.                                     7   a common behavior, if this was the case, I think there
 8       Q Okay. Do you see, at the bottom of the first          8   would be a lot more cases where this behavior was
 9    paragraph there in that section, it says: "However,        9   deemed to be illegal because this is not the only place
10    web scraping information that is accessible exclusively   10   that does it. Web scraping occurs in many other
11    to the members and requires logging in is illegal, as     11   industries, and I think I cite other articles where it
12    this behavior explicitly violates the terms of            12   takes place. Travel just happens to be one of them
13    service"?                                                 13   because --
14       A Hold on a second. I'm sorry. I can't find            14      Q I -- I was just going to say I think the
15    that. I remember the issue. I just can't see it.          15   distinction here is just mentioning scraping where
16    Where is it? We are on the same page?                     16   there's a login and violating the terms of service.
17       Q It's in the middle of the page on the                17          So I'm just wondering if that's a
18    left-hand --                                              18   determination that you considered or not in writing
19       A Oh, yeah, I see it. So -- yes. "However, web         19   your report.
20    scraping information that is accessible exclusively,"     20          MR. KASNER: Objection to the form and
21    yes, I see it there.                                      21   testifying.
22       Q Do you agree with this?                              22          THE WITNESS: Yes, I did.
23       A So I went to look at the original                    23   BY MS. GIERHART:
24    Supreme Court ruling. My interpretation of it -- see,     24      Q Okay. What did you consider about that?
25    I'm not a lawyer -- said that, in general, it's --        25      A I considered several things in here, one of
                                                  Page 228                                                       Page 229
 1    which was whether or not it's required. So I looked at     1   of the -- it's in the report.
 2    actually going in to Ryanair and seeing what Ryanair       2   BY MS. GIERHART:
 3    did on its website. And, in fact, I show -- at the         3      Q Okay. I guess I didn't phrase it very well.
 4    back of my report, there are some sample screens that      4   I guess, just generally, your report, when it talks
 5    show that I went in. And, with my assistant, we            5   about benefits of screen scraping or aggregating data,
 6    actually looked at two scenarios where we went in using    6   OTAs being able to show different flights, that's
 7    Ryanair direct and where we went in using Booking.com      7   really all talking about the search process leading up
 8    to see if there was really a difference between the        8   to but not including booking a ticket; is that right?
 9    two.                                                       9         MR. KASNER: Object to the form.
10       Q A difference in what?                                10         THE WITNESS: Most of the piece is concerned
11       A In how we got to the data and whether the            11   with web scraping, which is grabbing information.
12    customer was impacted at the end of that.                 12   Remember, that's a one-way kind of way to look at it.
13       Q Okay. And when you refer to getting the data,        13   That's pulling the information in. That's not
14    so we are talking about anything leading up to booking    14   interacting with it out.
15    the ticket but not including booking the ticket?          15   BY MS. GIERHART:
16          MR. KASNER: Object to the form.                     16      Q Okay. Okay. All right. So I just want to
17          THE WITNESS: That is correct.                       17   look at another -- on the same page, but if you move to
18    BY MS. GIERHART:                                          18   the right column, it's about five lines down. The
19       Q Okay. Actually, did your report take an              19   author is saying: "A common ethical concern regarding
20    opinion at all regarding anything at the moment of        20   web scraping is related to the problem of sending too
21    booking a ticket or after booking the ticket?             21   many requests to the host over a short span of time"
22          MR. KASNER: Object to the form.                     22   and that [as read] "A typical web scraper involves
23          THE WITNESS: I think we described what              23   querying a website repeatedly. If overused, the
24    happens in the screenshots to show that we actually       24   practice can prevent others from accessing the
25    went through that, and we talk about myRyanair as part    25   website."




                                                                                       58 (Pages 226 to 229)
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                                                  Page 230                                                       Page 231
 1            Are you familiar with this practice?               1         MR. KASNER: Object to the form.
 2          A I am very familiar with this practice.             2         THE WITNESS: It's known to be capable to harm
 3          Q Okay. And what -- how are you familiar with        3   airlines' websites. I chuckle at this because, in the
 4    it?                                                        4   early days of the Web, it was a real problem. Now we
 5       A The behavior of lots of requests coming in is         5   have tools which identify this type of request, and if
 6    a common challenge that a website has to deal with.        6   you are a well-managed website, you can figure out ways
 7    So, for whatever reason, floods of requests come into a    7   to eliminate that so that you don't have to deal with
 8    website, and they can be driven by a wide range of         8   it whether these unnecessary requests are coming in.
 9    different reasons. It could be I'm running a               9   So you can monitor it. You can determine it. Those
10    promotion, which could stimulate traffic. It could be     10   tools exist and are well deployed by every competent
11    that there is something known as a DDOS, a                11   website owner.
12    denial-of-service attack. It could be that somebody is    12   BY MS. GIERHART:
13    trying to scrape my site if I'm the site itself.          13      Q Okay. Would you agree there's some expense in
14          So having been on the side of someone who has       14   developing those tools and constantly fighting scraping
15    been the target of scraping, you build tools to support   15   activities?
16    and ensure that you don't have it, and you hope that      16         MR. KASNER: Object to the form.
17    whoever is on the other end, who is intending to scrape   17         THE WITNESS: I have more stories I can tell
18    you, is behaving ethically -- sorry. Ethically is a       18   you about having to do it, and most, if not all,
19    judgment decision -- is behaving well so that you don't   19   website owners, whether it's airline or otherwise,
20    actually do things like that to prevent a customer from   20   should expect this behavior. And most of the website
21    coming in. I'm familiar with this practice.               21   tools now give you a way to handle it, and it's
22       Q Is it a known, I guess, harm to airlines'            22   cost-effective.
23    websites --                                               23   BY MS. GIERHART:
24          Is web scraping known to harm airlines'             24      Q And did you consider these downsides when
25    websites?                                                 25   forming your opinion in this report?
                                                  Page 232                                                       Page 233
 1       A Yes. And my experience definitely points me           1   ultimately conclude that, you know, one outweighs the
 2    in that direction. I've been -- I've been at this -- a     2   other? because they are just absent from the report.
 3    victim, if you like, of a website I was responsible        3          MR. KASNER: Object to the form. Testifying.
 4    for, receiving lots and lots of requests from both         4          THE WITNESS: I felt that the best way to talk
 5    scrapers and from bad actors.                              5   about this was to have other people describe it. I've
 6       Q Which air -- which website was that?                  6   got -- as I said, I've got personal experience of doing
 7       A I believe I alluded to this earlier when we           7   this. From this experience and my understanding of how
 8    were running the earlier lines, and we had a portion of    8   airlines work, it's standard practice that you expect
 9    the website on each one of seven airlines. So our          9   this type of behavior to occur. So I didn't think it
10    particular section was the one getting hammered.          10   was necessary to go beyond that because you have an
11       Q Sorry. Was this -- I missed it.                      11   article such as this which describes those types of
12           Was this Flair Airlines or with a different --     12   conditions.
13       A No. And one of the things in my CV, it talks         13   BY MS. GIERHART:
14    about a company called Air -- excuse me -- Air Black      14      Q Right. I mean, you just have to do a lot of
15    Box, and Air Black Box was the technology provider to a   15   digging to go find it, and there's no indication in
16    series of airlines. There were seven of them in all.      16   your report that you are going to --
17    And we ran a portion of the website that created a        17          You didn't say "See disadvantages in
18    particular function, and we ran that function for each    18   Footnote 14." It just says "screen scraping is a
19    one of the airlines. So we didn't just have to deal       19   process of accessing a web service. See Footnote 14."
20    with one airline's website. We actually dealt with        20          MR. KASNER: Objection to the form.
21    seven and an eighth, which was our own, which was         21   Argumentative.
22    ValueAirlines.com. So we were very familiar with these    22          THE WITNESS: I think the purpose of quoting
23    types of behavior.                                        23   this article as I've tried to do, in other words, is
24       Q Is there a reason why you didn't include these       24   there is a lot of information available to explain to a
25    disadvantages in your report and weigh them and then      25   user -- I'm sorry -- a reader that these issues do




                                                                                      59 (Pages 230 to 233)
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                                                  Page 234                                                       Page 235
 1    exist. I hoped that by quoting esteemed journals like      1   and you indicated that you also considered the
 2    this particular one of the value that that brought.        2   disadvantages of screen scraping. I want to come back
 3    Cornell Hospitality School is very well known, and this    3   to that for a second, if we can switch gears, and I
 4    publication is pretty authoritative; right?                4   wanted to look at some of your blog posts of yours.
 5           I don't have to agree with everything, but          5          So I can share -- this is going to be
 6    it's a good layout of exactly what happens. I mean,        6   Exhibit 130. You might have to zoom in a little bit.
 7    they are talking mostly about hospitality sites, but it    7          (Deposition Exhibit 130 was electronically
 8    does apply to airline sites. And I felt this was a         8          received and marked for identification.)
 9    good way to illustrate the challenge by quoting            9   BY MS. GIERHART:
10    something from an authoritative journal.                  10      Q First, just out of curiosity, I notice your
11           MR. KASNER: Cindy, at the end of this line of      11   blog is called -- and your Twitter handle is
12    questioning, can we take a break?                         12   Professor Sabena. Where did that come from?
13           MS. GIERHART: I think we can do a quick break      13      A So I tend to have a somewhat professorial way
14    now and then come back. Another ten minutes?              14   that I speak to people in situations. So my nickname
15           MR. KASNER: Okay.                                  15   was "Professor." And when I was trying to come up with
16           THE WITNESS: Okay.                                 16   a handle, I wanted to have the antithesis of something
17           THE VIDEOGRAPHER: We are off the record at         17   that might appeal to people who were aviation, in other
18    3:52 p.m.                                                 18   words, AV geeks and people who knew about the airlines,
19           (Off the record.)                                  19   and Sabena was probably the world's worst airline. In
20           THE VIDEOGRAPHER: This is the beginning of         20   fact, its acronym stands for "such a bloody experience,
21    Media File No. 6. We are back on the record at            21   never again." So Professor Sabena is my nickname, my
22    4:02 p.m.                                                 22   nom de plume, as it were. This -- I see this is from
23    BY MS. GIERHART:                                          23   what I wrote in 2008.
24        Q Okay. So we were just talking about -- in the       24      Q Yes, it is from a while ago, but it is talking
25    report, you mention the benefits of screen scraping,      25   about "Ryanair clamps down on Screen Scrapers." So it
                                                  Page 236                                                       Page 237
 1    still seems relevant surprisingly to this day.             1   this. I'm finished.
 2           MR. KASNER: Objection to the form.                  2   BY MS. GIERHART:
 3    Testifying.                                                3      Q Okay. So, to start, it seemed, in the
 4    BY MS. GIERHART:                                           4   industry, it was known that Ryanair did not approve of
 5       Q Do you remember this article -- or this blog          5   screen scrapers; is that right?
 6    post?                                                      6          MR. KASNER: Objection to the form.
 7       A I remember writing it. I don't remember a lot         7          THE WITNESS: Sorry. It's been well known for
 8    of the detail. So there's a lot in here.                   8   a long time that Ryanair does not like screen scrapers,
 9       Q Okay. Well, first, it starts off saying               9   and it is well known that other airlines don't like
10    Ryanair is going after screen scrapers. So the second     10   screen scraping.
11    paragraph there says "So it is not surprising that        11   BY MS. GIERHART:
12    occasionally they go after intermediaries who are         12      Q Okay. And why would they not like screen
13    re-selling the Ryanair product."                          13   scraping?
14           So I guess, first, the question is just, it        14      A So in this article, which, remember, is very
15    was known in the industry since at least 2008 that        15   old -- it is 15 years old. That's a lifetime, maybe
16    Ryanair didn't want screen scrapers on their website;     16   generations inside the travel industry, inside the Web
17    is that right?                                            17   for sure. So, at the time, this was something that
18           MR. KASNER: Object to the form.                    18   was, I think, more of a challenge. It was still a
19           And if you need a second to read the article,      19   fairly new phenomenon at the time about screen
20    please do.                                                20   scraping. So screen scraping was not -- was fairly
21           THE WITNESS: Yeah. Let me read the whole           21   novel at this time. I think that's the best way you
22    article.                                                  22   can describe it.
23           MS. GIERHART: Yeah. Just let me know when          23      Q Okay. And as far as why -- why would airlines
24    you are done.                                             24   at this time not like screen scraping?
25           THE WITNESS: Yeah. Yeah, I remember writing        25      A I actually put in here that there was actually




                                                                                       60 (Pages 234 to 237)
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                                                  Page 238                                                       Page 239
 1    some risk. Where is the bit in here? I read that. It       1   think that statement is true anymore.
 2    says -- if you go to the paragraph, it says "I have an     2       Q So it's your belief that screen scraping no
 3    issue with the use of Screen Scraping" --                  3   longer causes harm to an airline's website?
 4       Q Uh-huh.                                               4          MR. KASNER: Object to the form.
 5       A Right? -- "and have never been a huge fan             5          THE WITNESS: I'm not saying that. I'm saying
 6    despite the value that can be derived"; right?             6   that it is not as much of an issue as it was when I
 7          [As read] "The core root of the problem is           7   wrote this article.
 8    that the backend systems are really not designed to        8   BY MS. GIERHART:
 9    cope with these types of searches and therefore it         9       Q Okay. And what is that based on?
10    creates a resource issue which can ultimately cost        10          Have you lately worked with airlines to combat
11    money. It is fair therefore for a scraper to" --          11   screen scraping?
12    sorry. "Is it fair therefore for a scraper to make        12          MR. KASNER: Object to the form.
13    money out of somebody else's resources?"                  13          THE WITNESS: I would characterize it in a
14          So I asked that question, a rhetorical              14   slightly different way, is that when I last had to deal
15    question, and I don't answer it. I just pose it as a      15   with it in my own personal experience and in my
16    question.                                                 16   discussions with airlines who now have to deal with the
17          What is interesting is, at the time, any form       17   problem on their websites and other travel websites
18    of screen scraping -- remember, this is long before big   18   because it's not just airlines who get screen-scraped,
19    DDS attacks had become prevalent. So it was just a        19   it is also -- sorry -- OTAs who get it. In fact, I
20    resource issue because there wasn't the tools of          20   talk there about one website called "Trip.com."
21    sophistication.                                           21          At the time, Trip.com was owned by somebody
22          Now, I think that it is completely different,       22   else, and they were a bad actor. But, now, it's owned
23    and this is normal behavior to expect, screen scrapers    23   by Ctrip. It's become a good actor in that they're
24    or something particularly in travel sites to come and     24   using Trip.com in a good way.
25    hit you. So the tools have been developed. So I don't     25          So I think it's part of the standard behavior
                                                  Page 240                                                       Page 241
 1    inside the industry that you expect that people will       1   a lot more normal because this issue was raised at this
 2    use some form of screen-scraping tool, and therefore, I    2   time and the people had started to deal with it. By
 3    think it's kind of a nonissue these days. Whereas          3   the time we were in public in 2016 with Air Black Box
 4    before, when I wrote this article 15 years ago, it         4   and its customers, it was an absolute normal situation,
 5    absolutely was a big issue.                                5   and we were dealing with this as we were dealing with
 6    BY MS. GIERHART:                                           6   other things like DDOS attacks.
 7       Q You were starting to say -- you were comparing        7      Q And do you think you were getting
 8    from when you had to deal with it with conversations       8   screen-scraped at the same level that airlines like
 9    you are having with people today.                          9   Ryanair are?
10          When did you have to deal with it?                  10         MR. KASNER: Object to the form.
11       A Oh, sorry. This was in the 2017, '18, and            11         THE WITNESS: Can you give me perhaps a better
12    '19.                                                      12   definition of "level."
13       Q And it was a big problem then?                       13   BY MS. GIERHART:
14       A No. It was -- it was conquered, if you like,         14      Q Do you think that the volume of screen
15    from that time. So seven years after -- 2017. Seven       15   scraping that your company received would be equivalent
16    years after this article, by then, I had started          16   to the volume of screen scraping that Ryanair receives?
17    Air Black Box. This was from 2010. I started              17         MR. KASNER: Object to the form.
18    Air Black Box in 2012, and we had to deal with it. And    18         THE WITNESS: Ryanair was a massively much
19    it was one of the first questions I asked of my web       19   larger airline. It's one of the top airlines on the
20    team.                                                     20   Web anyway. So we were nothing like that. We were
21          And I said, "Okay, how do we defend against         21   confined to a very specific area in Asia Pacific. So,
22    this? How do we defend against massive amounts of data    22   the total volume, I would say no; but in comparison to
23    requests? How do we synthesize those data requests?       23   what I understand Ryanair is getting, I don't have any
24    How do we stop bad actors from entering?"                 24   data on that subject. I tried to find some, but I
25          And those, by then, even in 2012, have become       25   can't find any. I would say, probably, it was far more




                                                                                      61 (Pages 238 to 241)
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                                                  Page 242                                                       Page 243
 1    impactful on us than it was on Ryanair.                    1         MR. KASNER: Object to the form. Foundation.
 2    BY MS. GIERHART:                                           2         THE WITNESS: I do not have specific knowledge
 3       Q Even though it would be a much smaller volume?        3   of that, no.
 4       A Yes. Because let's say we got a thousand              4   BY MS. GIERHART:
 5    bookings a day and we had 10,000 hits that came from       5      Q Okay. So you can't really know if the problem
 6    screen scrapers, that would translate into -- Ryanair      6   is solved for Ryanair, can you?
 7    into literally millions of hits in comparison.             7         MR. KASNER: Object to the form.
 8       Q And so --                                             8         THE WITNESS: I believe there is a document --
 9       A We got a lot, and in one particular case, I           9   I don't recall which one -- which talks about what
10    can recall most of the traffic coming in was from         10   Ryanair does to combat the issue. I think they even
11    people attempting to scrape, and they were actually a     11   quote it in one of the responses. They quoted the
12    malicious actor in the specific case that I'm talking     12   amount of money that they spend on anti-DDOS and screen
13    about because they were trying to create a copy of our    13   scraping. It didn't appear to be a lot of money, which
14    website so that they could create a fake website.         14   is what I would expect for an organization the size of
15           So the detailed knowledge was not just that        15   Ryanair.
16    the actor was doing something bad if we count screen      16   BY MS. GIERHART:
17    scraping as bad; but they had a malicious intention of    17      Q I would be curious which document you are
18    doing that not to the benefit of our customers but        18   referring to.
19    diverting customers to their website so they could        19         MR. KASNER: Object to the form.
20    steal from consumers. That's what --                      20         THE WITNESS: God, I'd have to go back and
21       Q Okay.                                                21   look, but it was one of the responses. Do I have to --
22       A -- (inaudible) OTAs do.                              22   can I find it now, or should I just wait?
23       Q But -- so you don't know the level of attacks        23         MS. GIERHART: I'd rather we move on if you
24    that Ryanair has to deal with in the last five years or   24   don't know offhand.
25    even today; right?                                        25         THE WITNESS: No. I mean, I recall the
                                                  Page 244                                                       Page 245
 1    document. I recall that it actually talks about what       1   different reasons, I think we just accept it.
 2    Ryanair provisions as tools, and it has a cost factor      2   BY MS. GIERHART:
 3    associated with it. And, to me, in my professional         3      Q I guess the question is you had the opinion in
 4    opinion, the size of the business that Ryanair does and    4   2008 that you had an issue with the use of screen
 5    the number of bookings and web searches that they          5   scraping and you were not a fan.
 6    receive, that seemed to be quite normal.                   6         Are you a fan today of screen scraping?
 7    BY MS. GIERHART:                                           7         MR. KASNER: Object to the form. Foundation.
 8       Q Is it a widely held belief in the industry            8         THE WITNESS: I will never say that I am a fan
 9    that screen scraping just isn't a problem anymore?         9   of screen scraping. That's not what I'm saying here.
10          MR. KASNER: Object to the form.                     10   What I'm saying here -- and I think I still hold the
11          THE WITNESS: Thinking about that, obviously,        11   belief -- is if there is a better way to do things,
12    I can't speak for everybody nor the industry as a         12   then we should go for it. Screen scraping should not
13    whole, but I would say that screen scraping is normal     13   be something that should be a be -- a goal in and of
14    behavior inside the travel industry, and people accept    14   its own self; but if it's the only way to achieve the
15    it and handle it.                                         15   goal, then you just accept it, and you move on. You do
16    BY MS. GIERHART:                                          16   what you can.
17       Q Right. But none of that says that it isn't a         17   BY MS. GIERHART:
18    problem. Do you agree that there is a difference?         18      Q I wanted to go up just a little bit in the
19          MR. KASNER: Object to the form.                     19   article. You talk about there are three main types of
20    Argumentative.                                            20   screen scraping. Type 1, you say, is aggregate and
21          THE WITNESS: I think, if we were to ask a           21   then forward the user to the supplier. So you give the
22    slightly different question, "Do people accept that       22   example of Kayak. So I think that's your example you
23    DDOS attacks are normal?" we would say the industry       23   were talking about where you aggregate data and then
24    expects it. So we deal with it. I think the same          24   link to the supplier.
25    applies to screen scraping. Although they are very        25         And, then, Type 2, you say, is "screen scrape




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                                                  Page 246                                                       Page 247
 1    aggregate and then make the booking in the background      1          MS. GIERHART: Okay.
 2    without redirecting the consumer." Would --                2          THE WITNESS: And if you look there, I say
 3          Is Booking.com in the Type 2 category?               3   that -- I name examples here of three -- of two
 4       A So these types were defined by me in 2008.            4   players, V-Tours and Bravofly. And at the time -- and
 5    Since I haven't seen this article in at least 15 years,    5   my memory is going to be a bit sketchy here because I
 6    I'd have to think about that more before I could give a    6   haven't thought about this for a while, but Bravofly,
 7    considered opinion, and since you are presenting this      7   if I recall correctly, was a well-known bad actor of
 8    to me, I would ask for time to think about that            8   Type 2, which is why I called them out because they did
 9    question.                                                  9   not provide any indication to the customer as to what
10       Q Sure. You can think about it.                        10   they were doing and they had lots of problems and it
11          And your response could be, you know, "In           11   was, kind of, well known.
12    2008, this is how I would have considered it in 2008."    12          The issue, I think, is the whole industry has
13       A In 2008, I think it was clearer because there        13   moved on; and therefore, it doesn't appear to be the
14    was really -- there weren't as many options or as many    14   same as the situation that visited in 2008. I think it
15    nuances to it. So judging by the three criteria, if       15   would be unfair to label either Booking or Priceline or
16    somebody else had written this, if I was using that as    16   even any other player you care to name in the same
17    the criteria, I would say kind of, yes, that they are a   17   category without considering them in much more detail.
18    Type 2, not completely yes as Type 2 because I would      18          So I would just say I tend to think that there
19    probably have had -- if I was looking at this now, the    19   were very specific players in 2008, and I named two of
20    different types of screen scraping, I would have many     20   them who I think were bad actors at the time. Whether
21    more differentiations.                                    21   or not they cleaned up their act, I can't say.
22       Q Okay. And I guess is the same --                     22          Does -- do I think that Booking and
23          Would Priceline fall into that Type 2?              23   Priceline -- Booking.com and Priceline exactly fall
24          MR. KASNER: Object to the form.                     24   into this category? I'd have to think about that.
25          THE WITNESS: I would answer it the same way.        25   ///
                                                  Page 248                                                       Page 249
 1    BY MS. GIERHART:                                           1   hoodwinking the customer, not just in the area of
 2       Q Okay. I guess, going into your thinking               2   screen scraping but in other areas, and they acquired a
 3    there, Type 2, two paragraphs down, you say "Type 2 is     3   very bad reputation for doing that inside the industry.
 4    the nasty one because it is essentially fooling the        4         So my first categorization is, yes, if you are
 5    customer."                                                 5   completely fooling the customer, which I believe that
 6           You do mention Ryanair here. Then you also          6   Ryanair -- I'm sorry. Excuse me. Not Ryanair. Excuse
 7    say "It is also EXPRESSLY verboten with Ryanair and        7   me -- that Bravofly was. And I don't think the same
 8    just about everyone else." And, then, you go into the      8   thing applies, which is why I think that Booking.com
 9    terms and conditions for Ryanair.                          9   and Priceline don't fit the mold for the strict
10       A Correct.                                             10   interpretation I had at the time with Type 2.
11       Q So it sounds -- was your belief in 2008 that         11         Again, this is reinterpreting something that I
12    this Type 2 where the screen scraper is making the        12   had from 15 years ago.
13    booking on the website without redirecting, that those    13   BY MS. GIERHART:
14    were, sort of, this -- I mean, you clearly had strong     14      Q Okay. I guess, to scroll down to the
15    feelings against them; is that accurate?                  15   paragraph we were looking at before where it starts off
16           MR. KASNER: Object to the form. Misstates          16   "I have an issue with" and it ends with that you said
17    the document.                                             17   there's a rhetorical question, is it fair, therefore,
18           THE WITNESS: I'd like to agree with counsel.       18   for a scraper to make money out of someone else's
19    I think you are misstating the point here. What I am      19   resources?
20    trying to say here is that -- that for the Type 2 -- I    20         Do you have an opinion on that?
21    tried to focus very clearly on Type 2, and I was          21         MR. KASNER: Object to the form.
22    expressly thinking about these two players, V-tours,      22         THE WITNESS: I think that's still valid.
23    who I don't think exists anymore, and Bravofly that       23   That's still a valid statement because, again, going to
24    was, kind of, a cross-seller [ph].                        24   the specific case that we are talking about, Bravofly,
25           And Bravofly was well known for basically          25   which is the one I remember, Bravofly was absolutely




                                                                                       63 (Pages 246 to 249)
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                                                  Page 250                                                      Page 251
 1    making money and was doing -- I think Michael O'Leary      1   what were they not being clear to the customer about?
 2    calls them "pirates," the pirate behavior of charging a    2      A I -- again, this is 15-year-old memory, and a
 3    completely different price to the one that Ryanair was     3   lot of water has flowed under a lot of bridges. I just
 4    putting out.                                               4   remember Bravofly was well known for misrepresenting to
 5           So the issue was different, and I think,            5   consumers what it did, and it wasn't just an issue of
 6    therefore, that the statement is true that, in this        6   screen scraping for which they actually did a lot of
 7    particular case, the scraper was making money by           7   screen scraping, not just to Ryanair, but to a bunch of
 8    misrepresenting things to the consumer and using the       8   other players. And it was well known at the time that
 9    resources of the airline because they were charging a      9   Bravofly -- again, this is recalling from memory --
10    significant premium.                                      10   that Bravofly was a bad actor. And I think that when
11    BY MS. GIERHART:                                          11   you look -- put all of those things together, I think
12       Q Okay. So if an OTA substantially marked up an        12   my statement was accurate --
13    airline's flights and was able to sell that flight        13      Q Okay.
14    through screen scraping through using the airline's       14      A -- for Bravofly.
15    resources, that would not be fair in your opinion?        15      Q And, then, at the end -- okay. Well,
16           MR. KASNER: Object -- object to the form.          16   actually, I just want to go to the very end of this,
17    Calls for speculation.                                    17   but to go back up to the start to orient what this
18           Can I answer?                                      18   article -- the catalyst for the article, in the second
19           MR. KASNER: Yes.                                   19   paragraph, you say this is about the stories that
20           THE WITNESS: So I would add one component,         20   Ryanair has stated, effectively Monday, they will
21    and was not being clear, as was the case with Bravofly,   21   automatically cancel any bookings made by screen
22    purporting to be something that they were not.            22   scrapers. I think you mean screen scrapers.
23    BY MS. GIERHART:                                          23      A I did.
24       Q Okay. I guess, just in that case, what were          24      Q Okay. So with that context, just to go to the
25    they not being -- because I'm not familiar with it,       25   very bottom, you conclude, the second to the last
                                                  Page 252                                                      Page 253
 1    paragraph, "In my humble opinion therefore Ryanair is      1       A I don't have it. Oh, sorry. There it is.
 2    well within its rights to take this action even though     2   Yeah, it came up. Sorry.
 3    it is objectionable and puts the consumer in the hot       3       Q No worries.
 4    seat." Do you still hold that opinion today?               4       A Well, this is from August, I believe. The
 5           MR. KASNER: Object to the form.                     5   other one was from June. Was it from June? Oh, no.
 6           THE WITNESS: I think that if you take the           6   This is a week later. You are absolutely right. Okay.
 7    case of a bad actor, that's if Ryanair was the good        7   Let me just read this one.
 8    actor here and the person being damaged and the bad        8       Q Sure.
 9    actor was someone like a Bravofly, I'd say yes.            9       A I don't know if I can because it's a pdf. I
10    BY MS. GIERHART:                                          10   was going to say, can we go and look at the article in
11        Q And why is that?                                    11   Aviation Week? I doubt that we would be able to get to
12        A For the reason I think we've already discussed      12   it --
13    and for the reasons we have just gone through.            13       Q Yeah. I'm not --
14           MS. GIERHART: All right. I'm going to show         14       A -- because that would give context.
15    you one more blog post. Let me make sure -- okay.         15         So I think I'm pretty clear here. Again, it's
16    It's going to be Exhibit 131.                             16   ten years ago. I was saying the bad Type 2s are
17           (Deposition Exhibit 131 was electronically         17   actually the ones causing the problem. I'm trying to
18           received and marked for identification.)           18   distinguish between bad Type 2s and good Type 2s are
19    BY MS. GIERHART:                                          19   actually the ones causing the problem here.
20        Q It's from a similar time frame; in fact, I          20         Ryanair is well within the rights to go after
21    think only a week later. You can have a minute to read    21   these guys at the time in the jurisdiction that this
22    through it.                                               22   happened. If, however, Ryanair went after Type 1
23        A I can't see it yet.                                 23   scrapers, then I would be less enthusiastic. By
24        Q Oh. I'm sorry. Exhibit 131, do you have             24   implication, the good Type 2s would also fall under
25    that?                                                     25   that category.




                                                                                      64 (Pages 250 to 253)
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                                                  Page 286                                                       Page 287
 1    the same as what a conventional travel agency does.        1   model, which is to collect information about customers
 2          You need to have this minimum information in         2   and then target marketing to them; right?
 3    order to make a reservation. Yes, that's true. You         3         MR. KASNER: Object to the form.
 4    can then use that information and look -- when you         4         THE WITNESS: That is one of the things they
 5    combine that with, for example, the behavior of the        5   do, yes.
 6    customer. So you can get -- you do get personalization     6   BY MS. GIERHART:
 7    out of this. That's standard business.                     7     Q Isn't that what essentially every company that
 8    BY MS. GIERHART:                                           8   markets to consumers today does?
 9       Q Okay. And, then, your next sentence is that,          9         MR. KASNER: Object to the form.
10    as such, Ryanair is attempting to establish itself as a   10         THE WITNESS: That's no different. You are
11    competitor of online travel agencies.                     11   absolutely correct.
12          Is it your contention that Ryanair is trying        12   BY MS. GIERHART:
13    to establish itself as a competitor because it collects   13     Q So is -- wouldn't that make every company a
14    the name, the date of birth, and contact information of   14   competitor of OTAs?
15    its customers?                                            15         MR. KASNER: Object to the form.
16          MR. KASNER: Object to the form. It's one of         16         THE WITNESS: Let's put it this way: Amazon
17    the things that Ryanair does. Ryanair wants to provide    17   today -- touch wood -- does not sell travel on
18    the same level of service as an OTA does because, you     18   Amazon.com. So I think the context of this is very
19    know, we've gone through this at great length, looking    19   important. You can't do a search from Dublin to
20    at comparing OTAs and direct airlines, and I think        20   Stansted on Amazon.com. You can on an OTA, and you can
21    Ryanair is trying to do the same. They want to be         21   on Ryanair.com. So I think the context is very
22    competitive with online travel agencies in gathering      22   important.
23    the customers' eyeballs.                                  23   BY MS. GIERHART:
24    BY MS. GIERHART:                                          24     Q Okay. Is there anything else supporting your
25       Q You are saying they have the same business           25   contention that Ryanair is a competitor with OTAs other
                                                  Page 288                                                       Page 289
 1    than what's here in the report?                            1         THE WITNESS: Okay.
 2       A Sorry. Ask the question again.                        2         MS. GIERHART: Did you have any questions, or
 3       Q Is there anything else that supports your             3   are we done?
 4    contention that Ryanair is attempting to establish         4         MR. KASNER: We do not have any questions.
 5    itself as a competitor of OTAs other than what you have    5   We would like to designate the transcript for this as
 6    here in the report, which is that they are both            6   highly confidential pursuant to the protective order.
 7    targeting customers?                                       7         THE VIDEOGRAPHER: Joanna, do you want copy
 8           MR. KASNER: Object to the form.                     8   orders on the record?
 9           THE WITNESS: That is a very broad way that          9         THE REPORTER: Yes, please. Does anyone need
10    Ryanair and OTAs are competitive, and they both           10   a copy of the transcript today?
11    consider each other to be competitive. So, in my          11         MS. GIERHART: Yes. We'll -- e-tran only. We
12    report, I've tried to demonstrate how you get to that     12   don't need paper copies, and if we can, get the rough
13    point with what is the behavior of an airline, what is    13   and expedited.
14    the behavior of intermediaries be they GDS or OTAs or     14         MR. KASNER: The same for us would be great.
15    other forms, and what is the behavior of the customer.    15         THE REPORTER: Thank you.
16           So, as a broad brush, I tried to give that --      16         THE VIDEOGRAPHER: All right. This concludes
17    the answer to that information so that, inside the        17   the deposition on September 26, 2023, at 5:24 p.m.
18    report, I tried to give a way that describes how          18       (Deposition session concluded at 5:24 p.m.)
19    Ryanair behaves, and that's very similar to how an OTA    19                   -oOo-
20    behaves, which is what's good.                            20
21           MR. KASNER: I think we are at time. So, if         21
22    we could just wrap this up, that would be great.          22
23           MS. GIERHART: Right. No. Yeah. I think --          23
24    I think I'm -- we are at time. So I think I'm done.       24
25           MR. KASNER: Okay.                                  25




                                                                                      73 (Pages 286 to 289)
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                                                Page 290                                                       Page 291
 1                                                            1         DEPOSITION OFFICER'S CERTIFICATE
 2                                                            2    STATE OF CALIFORNIA )
 3                                                                          ) ss.
 4                                                             3   COUNTY OF ORANGE )
 5                                                             4
 6                                                             5         I, Joanna B. Brown, hereby certify:
 7          I certify (or declare) under penalty of            6         I am a duly qualified Certified Shorthand
 8    perjury under the laws of the State of California that   7   Reporter in the State of California, holder of
 9    the foregoing is true and correct.                       8   Certificate Number CSR 8570 issued by the Court
10
                                                               9   Reporters Board of California and which is in full
11    Executed at __________________________ on ____________.
                                                              10   force and effect. (Fed. R. Civ. P. 28(a)).
                   (Place)            (Date)
12
                                                              11         I am authorized to administer oaths or
13          _________________________________________
                                                              12   affirmations pursuant to California Code of Civil
                   (Signature of Deponent)
                                                              13   Procedure, Section 2093(b) and prior to being examined,
14                                                            14   the witness was first duly sworn by me.
15                                                            15   (Fed R. Civ. P. 28(a), 30(f)(1)).
16                                                            16         I am not a relative or employee or attorney or
17                                                            17   counsel of any of the parties, nor am I a relative or
18                                                            18   employee of such attorney or counsel, nor am I
19                                                            19   financially interested in this action.
20                                                            20   (Fed R. Civ. P. 28).
21                                                            21         I am the deposition officer that
22                                                            22   stenographically recorded the testimony in the
23                                                            23   foregoing deposition, and the foregoing transcript is a
24                                                            24   true record of the testimony given by the witness.
25                                                            25   (Fed. R. Civ. P. 30(f)(1)).
                                                Page 292
 1          Before completion of the deposition, review of
 2    the transcript [ ] was [ ] was not requested. If
 3    requested, any changes made by the deponent (and
 4    provided to the reporter) during the period allowed,
 5    are appended hereto. (Fed. R. Civ. P. 30(e)).
 6
 7
 8    Dated: ____________________________
 9
10
11             ___________________________________
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                                                                                    74 (Pages 290 to 292)
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 DEPOSITION OF: TIMOTHY JAMES O’NEIL-DUNNE
 DATE OF DEPOSITION: Tuesday, September 26, 2023
 CASE: Ryanair DAC v. Booking Holdings Inc., et al, Case No. 20-1191-WCB




                                              ERRATA SHEET

  The following are the corrections which I have made to my deposition transcript:

     Pg.         Ln.            Now Reads                          Should Read           Reason

    9        12               “(inaudible)”             gist                         Transcription

    21       21               pr?cis                    précis                       Transcription

    25       14               buying                    enabling                     Correction

    34       11               crew                      credentialed                 Transcription

    58       18               airline                   airline,                     Transcription

    65       19               serve                     settle                       Correction

    81       2                electronic                paper                        Correction

    102      11               DDS’s                     GDSs’                        Transcription

    109      4                obstructed                abstracted                   Transcription

    112      12               bot                       board                        Transcription

    113      17               Dog                       dot                          Transcription

    141      10               educators                 all comers                   Transcription

    148      9                part                      path                         Transcription

    149      16               office                    offers                       Transcription

    152      7                gain                      against                      Transcription

    153      21               NDCs                      NDC                          Transcription

    156      21               selling                   sourcing                     Transcription

    158      17               agency or a               agency or via a regular      Transcription
                              regular                   brick…
                              brick…

    160      16               Saudi                     Saudia                       Transcription



                                                         1
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 DEPOSITION OF: TIMOTHY JAMES O’NEIL-DUNNE
 DATE OF DEPOSITION: Tuesday, September 26, 2023
 CASE: Ryanair DAC v. Booking Holdings Inc., et al, Case No. 20-1191-WCB


     Pg.        Ln.          Now Reads                       Should Read       Reason

    160     16             Saudi                   Saudia                  Transcription

    161     21             indirect                direct                  Transcription

    167     19             reaching                reach and               Transcription

    168     19             Flair,                  Flair then,             Transcription

    173     19             that                    it                      Transcription

    179     13-14          “— like the”            “— like the – “         Transcription

    190     20             airline’s               airlines’ websites      Transcription
                           website

    217     2              Sendai                  Cendyne                 Transcription

    217     3              Sendai                  Cendyne                 Transcription

    219     10             pausing                 parsing                 Transcription

    219     25             pausing                 parsing                 Transcription

    219     15             104                     1040                    Transcription

    220     4              scraping/pausi          scraping/parsing        Transcription
                           ng

    220     21             light                   flight                  Transcription

    223     5              pausing                 parsing                 Transcription

    230     11             DDOS                    DDoS                    Transcription

    232     8              earlier line            Value Alliance          Transcription

    232     22             ValueAirlines.          www.ValueAlliance.com   Transcription
                           com

    238     19             DDS                     DDoS                    Transcription

    241     6              DDOS                    DDoS                    Transcription

    243     12             DDOS                    DDoS                    Transcription

    244     23             DDOS                    DDoS                    Transcription

                                                    2
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 DEPOSITION OF: TIMOTHY JAMES O’NEIL-DUNNE
 DATE OF DEPOSITION: Tuesday, September 26, 2023
 CASE: Ryanair DAC v. Booking Holdings Inc., et al, Case No. 20-1191-WCB


     Pg.       Ln.              Now Reads                          Should Read                   Reason

    260       19              customer’s                 customer is like water             Transcription
                              water

    261       21              FAA                        2FA                                Transcription

    267       21              pr?cis                     précis                             Transcription

    277       24              DDOS                       DDoS                               Transcription

    286       16              form. It’s one             form.” [Insert new line]           Transcription.
                                                         “THE WITNESS: It’s…                The transcript
                                                                                            improperly
                                                                                            combines Mr.
                                                                                            Kasner’s
                                                                                            objection with
                                                                                            The Witness's
                                                                                            answer

    293       Index           DDOS                       DDoS                               Transcription

    307       index           DDS’s                      GDSs’                              Transcription

    307       Index           DDS                        DDoS                               Transcription

    307       Index           DDOS                       DDoS                               Transcription

    331       Index           pausing                    parsing                            Transcription

    334       Index           pr?cis                     précis                             Index should be
                                                                                            corrected to
                                                                                            reflect “précis”

    340       Index           scraping/pausi             scraping/parsing                   Transcription
                              ng


  I, the undersigned, declare under penalty of perjury, that I have read the above-referenced deposition
  transcript and have made any corrections, additions or deletions reflecting my true and correct testimony.

                      EXECUTED this ______
                                     15    day of November 2023, at ____________________________.
                                                                     10:15 P<


                                               _____________________________________
                                                  Timothy James O’Neil-Dunne




                                                          3
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                    EXHIBIT 13
                  PUBLIC VERSION -
       CONFIDENTIAL MATERIAL OMITTED IN FULL
Case 1:20-cv-01191-WCB Document 385-3 Filed 02/26/24 Page 23 of 39 PageID #: 13992




                    EXHIBIT 14
                    PUBLIC VERSION -
             CONFIDENTIAL MATERIAL OMITTED
Case 1:20-cv-01191-WCB Document 385-3 Filed 02/26/24 Page 24 of 39 PageID #: 13993
                                                                    973587
                                                                    research-article2020
                                                                                           CQXXXX10.1177/1938965520973587Cornell Hospitality QuarterlyHan and Anderson




  Article
                                                                                                                                                                         Cornell Hospitality Quarterly

  Web Scraping for Hospitality Research:
                                                                                                                                                                         2021, Vol. 62(1) 89­–104
                                                                                                                                                                         © The Author(s) 2020
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                                                                                                                                                                         journals.sagepub.com/home/cqx




  Saram Han1,2           and Christopher K. Anderson1



  Abstract
  As consumers increasingly research and purchase hospitality and travel services online, new research opportunities have
  become available to hospitality academics. There is a growing interest in understanding the online travel marketplace among
  hospitality researchers. Although many researchers have attempted to better understand the online travel market through
  the use of analytical models, experiments, or survey collection, these studies often fail to capture the full complexity of
  the market. Academics often rely upon survey data or experiments owing to their ease of collection or potentially to the
  difficulty in assembling online data. In this study, we hope to equip hospitality researchers with the tools and methods to
  augment their traditional data sources with the readily available data that consumers use to make their travel choices. In
  this article, we provide a guideline (and Python code) for how to best collect/scrape publicly available online hotel data.
  We focus on the collection of online data across numerous platforms, including online travel agents, review sites, and hotel
  brand sites. We outline some exciting possibilities regarding how these data sources might be utilized, as well as discuss
  some of the caveats that have to be considered when analyzing online data.

  Keywords
  web scraping; online review; data collection; Python




  Introduction                                                              promising option is using an Application Programming
                                                                            Interface (API) provided by the firm hosting the data.
  The internet presents many interesting opportunities for                  However, APIs are often difficult to access, accessible only
  understanding consumer choice. Any information displayed                  for a limited duration, or require upfront fees even when
  on any travel website represents a potential data source for              researchers are able to access an API. Furthermore, APIs
  hospitality researchers. For instance, a hospitality researcher           generally will not expose all the required variables.
  might collect a list of reviews from TripAdvisor and per-                    Recently, scholars have utilized alternative approaches
  form text mining, or retrieve satisfaction ratings to perform             to collect consumer behavior data that mimics online
  some statistical analysis, or determine the relationship                  behaviors. Previous studies directly captured data in a sim-
  between price and page ranking at an online travel agent                  ulation lab or survey setting where research participants
  (OTA). Despite the appeal of these opportunities, however,                acted as if they were actually completing online activities
  the fact remains that manually collecting a large amount of               (Choi et al., 2017; Min et al., 2015; Shin et al., 2019).
  online data is inefficient and practically impossible. A typi-            However, a common criticism of these studies is that there
  cal hospitality research study may require data from multi-               is a mismatch between real customer behavior and the
  ple hotels across different markets over a prolonged period               behavior of the subjects in these experiments, which are
  of time; collecting this data manually can be incredibly time             often conducted by undergraduate students or participants
  consuming and tedious. Therefore, hospitality researchers                 in Amazon’s Mechanical Turk (Schahn & Holzer, 1990).
  need to automate the process of gathering and storing the                 Moreover, although it is possible to conduct large-scale
  information presented on travel websites. This is where web
  scraping comes into play. Web scraping is the process of
  creating a computer program to download, parse, and orga-                 1
                                                                                  Cornell University, Ithaca, NY, USA
                                                                            2
  nize data from the web in an automated manner (vanden                           Seoul National University of Science and Technology, Republic of Korea
  Broucke & Baesens, 2018).                                                 Corresponding Author:
      As Table 1 illustrates, there are several alternative                 Saram Han, Seoul National University of Science and Technology,
  approaches that hospitality researchers may consider when                 232 Gongneung-ro, Nowon-gu, Seoul 01811, Republic of Korea.
  trying to automate the collection of online data. One                     Email: saramhan@seoultech.ac.kr
                                                                                                                                                                                              EXHIBIT
                                                                                                                                                                                                  129
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90                                                                                               Cornell Hospitality Quarterly 62(1)

Table 1.
Comparison of Common Data Collection Methods in Online Market Research.

                                    Scraped Data      Commercial Web Scraping Service             API                    Survey
Cost                            Low                   Medium                                Low/Medium        High
Sample frame                    Website users         Website users                         Website users     Flexible
Customizability of              Medium                Low                                   Low               High
  variables
Ease of frequent collection     Easy                  Moderate                              Easy              Hard
Data type                       Behavioral            Behavioral                            Behavioral        Attitudinal
Limitations                     Time and              Data may not be suitable to the       Limited           Time and
                                 programming skills    researcher’s need in terms of          availability     programming skills
                                                       variables or content

Note. API = Application Programming Interface.


survey research, a number of barriers make that process               available data is that researchers have little discretion in
difficult. Meanwhile, the scale of web scraped data usually           measuring aspects from the sample. In contrast, researchers
is large in nature. Compared with conducting a survey, col-           can include anything they want in a survey or questionnaire,
lecting publicly available online data is inexpensive—even            and thus have no restriction in the variables that they can
considering the required fee for the commercial service.              collect. Researchers should carefully decide whether web
The monetary cost and effort required to conduct a survey             scraping is suitable to their research and fully consider the
increases linearly with each additional sample, whereas               potential challenges web scraping poses. An ideal approach
web scraping requires only a one-time expense. Hotel                  might be to collect data through both experiments and web
prices change daily, and online reviews are posted even               scraping to confirm both the internal and external validity
more frequently. In such a dynamic market, a single sam-              (Viglia & Dolnicar, 2020). For example, some researchers
pling may not be sufficient. Conducting multiple surveys              use web scraped data to develop their hypotheses and use
sequentially is expensive and requires a lot of effort,               traditional data collection methods to confirm these hypoth-
whereas collecting publicly available online data enables             eses (Kupor & Tormala, 2018). Although web scraping has
researchers to extract as much data as they need in real              become popular recently and presents an important oppor-
time.                                                                 tunity to better understand the online marketplace, tradi-
    Another data collection method that researchers fre-              tional data collection methods remain the most commonly
quently chose is to outsource the scraping task to third-party        used strategies in hospitality research.
commercial firms (Wu et al., 2015). Although this is per-                 Table 2 illustrates the potential benefits of web scraped
haps the simplest option, there are potential pitfalls that           data for hospitality research by summarizing papers by data
may arise due to the lack of discretion in the data collection        type with a focus on online reviews in travel marketplaces.
process. For instance, researchers often realize too late that        To gather this data, we surveyed six highly reputable hospi-
they forgot to ask the firm to scrape for certain variables. As       tality journals using the advanced search feature that is
a result, they are forced to either spend additional time,            available on any journal website. Our analysis included all
effort, and money or complete their research without having           papers written prior to July 2020. We classified papers as
access to all the desired variables or behaviors.                     having utilized traditional data collections methods (such as
    However, the existing literature points out several draw-         surveys or interviews) if they included the term “online
backs to web scraped data. One common critique of online              review” and at least one of the terms {“interview,” “survey,”
data is that study results derived from this data are rarely          “amazon mechanical turk,” “questionnaire”}, but none of
generalizable to the behavior of the entire target population;        the terms {“scrape,” “scraping,” “crawl,” “actual review,”
although these data are useful to researchers who are inter-          “python”}. In contrast, any papers including the term “online
ested only in the behavior of online customers, if the                review” and at least one of the following terms {“scrape,”
researcher’s target population includes both online and               “scraping,” “crawl,” “actual review,” “python”} were classi-
offline customers, any results derived from online data will          fied as having directly used web data for online review
be highly vulnerable to selection bias. This is because web           research. The search queries we used are as follows:
scraped data may overrepresent the unique behaviors of
online customers. Meanwhile, researchers who opt to uti-                 •• Interview or survey: “online review” AND (“inter-
lize surveys as their research method have the flexibility to               view” OR “survey” OR “amazon mechanical turk”
design a sample frame capable of representing both online                   OR “questionnaire”) NOT (“scrape” OR “scraping”
and offline customers. Another drawback of publicly                         OR “crawl” OR “actual review” OR “python”).
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  Table 2.
  Data Collection Methods Used for Online Review Research in Hospitality Journals.

                                                                        Interview OR Survey                             Web Data
  Cornell Hospitality Quarterly                                                  16                                          3
  Journal of Travel Research                                                     21                                          4
  Journal of Hospitality and Tourism Research                                     7                                          3
  International Journal of Hospitality Management                               138                                         21
  Annals of Tourism Research                                                     31                                          5
  Tourism Management                                                             82                                         25


     •• Web data: “online review” AND (“scrape” OR                  efficient coding, some researchers may want to refer to
        “scraping” OR “crawl” OR “actual review” OR                 Massimino (2016) if the website contains only static con-
        “python”).                                                  tents. While the dynamic-website specialized codes can be
                                                                    used to analyze both static and dynamic contents, static-
      As the table indicates, only a handful of papers use data     website specialized codes cannot analyze dynamic contents.
  from the internet to tackle research questions that are related   As the goal of this article is to provide hospitality research-
  to online marketplaces.                                           ers with a generally useful tool that can be easily applied to
      The increasing availability of open source web scraping       a variety of websites, we only consider the dynamic-website
  tools has made it a lot easier for the researchers to build       specialized code in this article. Popular Python libraries
  their own customized web scrapers. This article aims to dis-      specialized for static website scraping are Requests,
  mantle some of the barriers that hospitality researchers          BeautifulSoup, lxml, and Scrapy. Those who are interested
  encounter when attempting to utilize web scraping in their        in detailed instructions from utilizing these libraries and
  online studies. However, this article is not a complete guide     other web scraping methods that can be applied to broader
  to web scraping, but rather an introduction to some of the        websites should read vanden Broucke and Baesens (2018).
  key tools and requirements for scraping key hospitality data      We hope our article will make online data collection easier
  sources. Our article provides hospitality researchers with        for hospitality researchers and spark greater interest in web
  tools and techniques for collecting data from typical, inter-     scraping techniques. Therefore, our purposes include the
  active hotel websites. Due to the introductory nature of this     following:
  article, we focus on applied concepts and functional illus-
  trations. In this article, we assume that readers have funda-        •• Providing tools applicable to major hotel platforms
  mental knowledge of programming languages, such as                      (i.e., TripAdvisor, Expedia, Marriott.com, and
  defining variables, loops, and functions, but not necessarily           Airbnb),
  Python. Proficient programmers and researchers who are               •• Introducing the process in the simplest terms possi-
  familiar with web scraping may already be capable of writ-              ble, and
  ing their own code from scratch, and thus may find this              •• Discussing both the benefits and limitations of ana-
  article to be too applied or specific. The methods we sug-              lyzing web scraped data.
  gest may not represent the most efficient methods available,
  as this article only considers websites that have dynamic             This article is a step-by-step guide to web scraping, with
  contents—that is, webpages designed to change in response         a focus on websites that are particularly useful to hospitality
  to human interactions (Massimino, 2016): for example, say         researchers. Other papers tend to either focus too narrowly
  a researcher wants to scrape not only all the customer            on specific websites or discuss web scraping at an abstract
  reviews on a particular hotel webpage on TripAdvisor but          level. Considering that different travel websites provide dif-
  also the profile information from each individual reviewer.       ferent insights, hospitality researchers rarely utilize only
  TripAdvisor’s dynamic website is designed to present              one specific website in their research. Narrowly focused
  detailed profile information only when a user positions their     articles require hospitality researchers to learn different
  cursor over the reviewer’s profile picture. This is where the     web scraping methods for each individual website included
  dynamic-website specialized code that we cover in this arti-      in their research. However, overly abstract articles often fail
  cle becomes useful. In contrast, if the website contains only     to provide all-in-one, generalized information that novices
  static contents—meaning that the website does not change          can apply to their own research. To narrow the gap between
  until the user (i.e., client) moves on to another webpage—        the needs of hospitality researchers and the currently avail-
  our dynamic-website specialized code may take longer to           able resources, our article focuses on two aspects that have
  function than static-website specialized code. Therefore, for     not previously been thoroughly examined in a single paper.
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First, rather than introducing different tools for each indi-
vidual website, we introduce more general tools that are
applicable to all major travel websites. Second, after read-
ing our article, researchers will have all the knowledge they
need to start web scraping, as our article provides the entire
scripts used for scraping every major travel website.
   The remainder of this article is constructed as follows.
First, we introduce the environments required for running a
Python-based scraper. Then, we explain the sample web
scraping code for collecting online hotel reviews and
prices. In addition to providing samples of key code
required for scraping through the paper, in the supplemen-
tal appendix we provide complete scripts for scraping
reviews and prices from major OTAs, review sites and
hotel brand sites. As most web scraped data are secondary
data, with the data generation process outside the research-
er’s control, biases have to be handled with caution.
Therefore, we also illustrate some possible biases that
researchers should be aware of before analyzing scraped
data. Finally, we discuss the academic implications of web
scraping and the ethical issues that hospitality researchers
should consider when collecting online data for their own
research.


Web Scraping Fundamentals                                          Figure 1.
                                                                   Flowchart of Web Scraping for Extracting Dynamic
In the following section, we outline the fundamentals of           Contents.
web scraping illustrated through the use of Python—a gen-
eral-purpose programming language. Our article is not an
introduction to Python as a whole, but rather focuses on the       Selenium. In this section, we introduce the Python library
aspects of Python that are key to web scraping. Python is a        Selenium. Although there are many libraries in Python
very approachable and intuitive programming language and           that facilitate web scraping, Selenium is the most useful
is often the language of choice for many introductory pro-         when dealing with interactive, JavaScript-heavy pages
gramming courses. There are many online resources that             like those on travel sites such as TripAdvisor, Airbnb, and
provide an overview of Python. For those who are inter-            Expedia. We start by illustrating scraping approaches for
ested in learning the basics of Python language, we recom-         extracting review data from TripAdvisor (Listing 1). We
mend reading Downey (2014). However, our focus in this             then extend this approach to extract review data from
section is on the unique methods and skills necessary for          other platforms and later extend this approach further to
scraping hospitality data from a variety of sources using          collect other types of data, for example, prices. Let’s
Python. As there is a large scraping community that uses           begin by scraping reviews and basic reviewer profile
Python3, throughout the article we utilize Python3 specifi-        information from the following TripAdvisor link: https://
cally (https://www.python.org/downloads/).                         www.tripadvisor.com/Hotel_Review-g60763-d93344-
                                                                   Reviews-The_Watson_Hotel-New_York_City_New_
                                                                   York.html.
Required Environment and Python Codes
                                                                   Listing 1.
As our goal is to simplify the process of gathering online
                                                                   Define Our Target Website for Scraping.
information and transforming it into a meaningful data set,
we focus only on the essential elements of web scraping in           1.	target_page = "https://www.tripadvisor.
this article. Over the course of this article, we use three dif-         com/Hotel_Review-g60763d93344-
ferent tools to make a scraper that facilitates the collection           Reviews-The_Watson_Hotel-New_York_
of data from major hotel websites: Selenium, WebDriver,                  City_New_York.html"
and XPath. Figure 1 presents the flowchart of the steps of
how we utilize the tools specialized for web scraping the             First, let’s name this target page. With other Python
dynamic contents.                                                  libraries (BeautifulSoup, request, Scrapy, etc.), you can
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  Figure 2.
  Example of an Interactive Platform.


  scrape everything that is displayed on the screen. While this   chromedriver otherwise. While locating the WebDriver in
  is good news, it also means that you cannot scrape informa-     the same directory as your Python scripts is the easiest way
  tion that is hidden until you click on it. For instance, con-   to call the driver, it is also possible to explicitly pass the
  tents that are hidden behind the button “Read more,” as         location of where you have the WebDriver as we do with
  illustrated in Figure 2, cannot be scraped with other popular   the variable dirver_loc in the code Listing 2. Once the
  Python libraries such as BeautifulSoup, request, or Scrapy.     WebDriver opens the browser, you can interact with the
  Unlike websites that are only written in Hypertext Markup       browser until you close it (i.e., driver.close()).
  Language (HTML) or CSS, many interactive travel sites
  use JavaScript, which allow for interactive functionality on    Listing 2.
  the web page. Contrary to many other programming lan-           Python Code for Opening and Closing Your WebDriver.
  guages, the core functionality of JavaScript lies in making
                                                                     1. 
                                                                        driver_loc = ’C:/Users/Desktop/chrome
  webpages more interactive and dynamic. Therefore, for                 driver.exe’
  sites that make heavy use of JavaScript, we need to write
                                                                     2.   driver = webdriver.Chrome(driver_loc)
  our code in a way that emulates human browsing behavior.
  That is where the Python library Selenium comes into play.         3.   driver.get(target_page)
  You can easily install it with the following code in the com-      4.   #Write your scraper here.
  mand line: pip install -U selenium from the ter-                   5.   driver.close()
  minal window on your computer. Selenium requires a
  third-party software called a WebDriver which we dis-
  cuss in the next paragraph.                                     XPath. Once a page is loaded with WebDriver, you will
                                                                  want to extract the information displayed on the screen and
  WebDriver. WebDrivers exist for most modern internet            download it on your computer. To extract this information,
  browsers, including Chrome, Firefox, Safari, and Internet       you first need to view the source code of the website ele-
  Explorer. When using these browsers, a browser window           ments you want to scrape. For Windows users, the easiest
  will open up on your screen and perform the actions speci-      way to check this information is to right-click on the part
  fied in your code. We can easily download a WebDriver           within the web page you want to scrape and select “Inspect.”
  from https://sites.google.com/a/chromium.org/chrome-            You will then see a tree-based view of the HTML codes.
  driver/downloads. As WebDrivers exist for most popular          Every web page is made up of a bunch of these HTML tags
  browsers, you can choose to download whichever Web-             denoting each type of content on the page. By clicking on
  Driver best works for you. In the following section, we         the arrows, you can see the nested structure of the code. To
  assume that readers will download the WebDriver for             scrape hotel review websites, we only need to understand
  Google’s Chrome browser—chromedriver. Make sure you             the basic structure of HTML language, which consists of
  download the file that matches both your operating system       tag, attribute, and the value of the attribute. Figure 3 illus-
  (i.e., Windows, Mac, or Linux) and the version of your cur-     trates part of the source code underlying the page displayed
  rent browser (i.e., Chrome, Internet Explorer, Edge, or         after selecting “Inspect.”
  Firefox). The ZIP file you download will contain an execut-         As an illustration, let us assume that the element of the
  able called chromedriver.exe on Windows, or simply              HTML code written to display the reviewer’s name (i.e.,
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Figure 3.
Displayed Tree-Based HTML Code View after Clicking on Inspect.


Amel) is shown in Listing 3, where the <a>. . .</a> is        class=‘MemberBlock’], which basically is //Tag[@
just one of the many existing tags (e.g., <p>, <div>,         Attribute=‘Value’] that can be interpreted as “grab
<ul>) in HTML which encloses the hyperlink and                the current node (//) with the tag name where the class
styles the web designer decided to use when display-          attribute corresponds to MemberBlock.” However, often-
ing the reviewer’s name. The value of the attribute           times the value of the attribute is very long and contains
“MemberBlock” is the name of a style that is assigned to      multiple special characters. This can be difficult because if
the attribute class. Likewise, href is another attribute of   even one of the characters is missing, a serious error may
this element that redirects users to the reviewer’s profile   occur. //a[contains(@class, ‘Member’)] pres-
page when they click on the reviewer’s username. XPath        ents an easier way to call the same element, by utilizing the
is a language used to find the location of any element on a   same process but not requiring users to include the entire
web page using this structure of the HTML. Selenium can       value of the attribute. This XPath prevents the researcher
use the XPath language to select elements. Although there     from provoking an error simply by not indicating the exact
are many Selenium methods, we use only find_element_          value of the attribute. The function contains() enables
by_xpath and find_elements_by_xpath throughout this           Selenium to easily find the desired element, even if the
article for ease of application.                              researcher only provides a fragment of the attribute value.
                                                              Accordingly, the find_element_by_xpath method in
Listing 3.                                                    the code Listing 4 indicates the element of the HTML code
HTML Element for the Reviewer’s Name.
                                                              Listing 3.
        <a class=“MemberBlock” href=“/Profile/
     1.                                                      Listing 4.
        amyamel”>Amel</a>                                     Indicating the HTML Element.

   To extract the information from the HTML code                 1. driver.find_element_by_xpath(“.//a
Listing 3, the XPath has to be written as, //a[@                     [contains(@class, ’Member’)]”)
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     To extract the reviewer’s name, we can add .text as              Mayzlin et al., 2014). Unlike regular self-motivated
  shown in the code Listing 5.                                        reviews, retailer-prompted reviews are those that are posted
                                                                      in response to hotels’ email invitations to post reviews
  Listing 5.                                                          online. This feature allows researchers to investigate how
  Indicating the Text Content.
                                                                      rating behavior differs depending on the nature of the
     1. driver.find_elements_by_xpath(“.//a                          review posting process.
         [contains(@class, ’Member’)]”).text                              Although most scraping tasks can be completed using
                                                                      the aforementioned functions and XPath, there is one prob-
      Note that the value of the same attribute can always            lem that requires additional attention. As mentioned in
  change (e.g., MemberBlock) whenever the web designer                Figure 2, many TripAdvisor reviews are long, meaning that
  defines a different name for the value. Therefore, the same         users must click on the “Read more” button to see the full
  web scraper may not work if the web designer updates the            review. Researchers must be able to automatically click this
  HTML code. If an error occurs after running the codes that          button to scrape entire reviews. For this purpose, Selenium
  we provided in the supplemental appendix, we recom-                 offers a selection of “actions” that can be performed by
  mend our readers to review the HTML code of the target              the browser, such as clicking elements. Fortunately, in
  website and check whether the value of the attribute has            TripAdvisor, once you expand one review, the rest of the
  changed.                                                            reviews within the same page expand as well. If for some
      If the researcher is interested in extracting the user’s pro-   reason all of the desired reviews do not automatically
  file link, the following .get_attribute(“href”)                     expand with a single click, a for-loop can be added to
  method is useful for finding the value of the href attribute        expand each review individually (see Listing 8). Once we
  (Listing 6).                                                        identify the element where the “Read more” button locates,
                                                                      we can use the execute_script method to expand the
  Listing 6.                                                          review. We recommend using try-except to avoid the scraper
  Indicating the Value of the “href” Attribute.                       stopping in situations where there is no expandable review
                                                                      on the page.
     1. driver.find_element_by_xpath(“.//a
         [contains(@class, ’Member’)]”).text.                         Listing 7.
         get_attribute(“href”)                                        Python Script to Expand the Review Element.

                                                                         1. more = driver.find_elements_by_xpath
  Applications for Major Hotel Platforms                                     (“.//div[contains(@data-test-target,
  In this section, we apply these scripts to scrape four major               ’expand’)]”)
  hotel review websites and discuss how to best deal with                2.   try:
  platform-specific features when building a scraper. We also
  discuss how hospitality researchers can take advantage of              3.   
                                                                              driver.execute_script(“arguments[0].
  the unique opportunities presented by each individual                       click();”, more[0])
  platform.                                                              4.   except:
                                                                         5.    pass
  Reviews on TripAdvisor. TripAdvisor is the largest player in
  the travel review platforms arena (Wang & Chaudhry,                 Listing 8.
  2018). Therefore, this platform has been used in many               Python Script to Expand Every Review Element Within
  marketing and hospitality studies (Chevalier et al., 2018;          a for-loop.
  Wang & Chaudhry, 2018). TripAdvisor has several unique
  features that make it attractive to researchers. For                   1.   for container in containers:
  instance, each individual’s previous platform activities                     more = container.find_elements_by_
                                                                         2.    
  are displayed on their profile. This feature allows                          xpath(“.//div[contains(@class,
  researchers to take reviewer level heterogeneity into                        ’expand’)]”)
  account as they analyze TripAdvisor data (Gao et al.,
                                                                         3.    try:
  2017). Therefore, we recommend scraping each review-
  er’s profile URL to collect individual-level data that may             4.     
                                                                                d river.execute_script(“arguments
  be useful in the future.                                                      [0].click();”, more[0])
     Another interesting feature that recent studies have                5.    except:
  started to focus on is the existence of retailer-prompted
  reviews (Askalidis et al., 2017; Han & Anderson, 2020;                 6.       
                                                                                 pass
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Figure 4.
Pagination.


                                                                   about a given hotel, users must scroll further down and
                                                                   repeatedly click on the “More reviews” button until all the
                                                                   reviews have loaded. The scraper must mimic this process.
                                                                   Listing 10 opens the number of reviews that you assign with
                                                                   revnum (e.g., we set here as 300). This while-loop contin-
Figure 5.                                                          ues scrolling down until the accumulated number of loaded
Infinite Scrolling.
                                                                   reviews exceeds revnum.

   TripAdvisor presents hotel reviews over multiple sepa-          Listing 10.
                                                                   Scrolling Down.
rate pages. Once you have successfully scraped the infor-
mation from the first page of reviews, you may want to
move on to the following page to scrape older reviews.                1.   revnum = 300
This is called pagination (Figure 4; Zhang et al., 2020). We          2.   loadednum = 0
can use the execute_script method again to send a
JavaScript command to the browser. This method clicks on              3.   while loadednum < revnum:
the “Next page” button, enabling researchers to scrape the                  more = driver.find_element_by_xpath
                                                                      4.    
same information on the following pages (Listing 9).                        (“.//button[contains(@class, ’more-
                                                                            reviews-button’)]”)
Listing 9.
Clicking the Next Page Button.                                              driver.execute_script (“arguments[0].
                                                                      5.    
                                                                            click();”, more)
     1. element = driver.find_element_by_xpath(‘//a                  6.    time.sleep(1)
         [contains(@class, ”nav next”)]’)
                                                                            containers = driver.find_elements_
                                                                      7.    
     2. driver.execute_script(“arguments[0].                               by_xpath(“.//div[contains(@class,
         click();”, element)                                                ’uitk-card-separator-bottom’)]”)

                                                                      8.        loadednum = len(containers)
Reviews on Expedia. One big advantage of Expedia is that all
reviews are written by valid customers. That is, as Expedia        Reviews on Airbnb. Airbnb is a peer-to-peer marketplace
only allows customers who purchased through their website          that emerged as a typical example of what is called the
to write reviews, there is a smaller chance that users will see    sharing economy. Many studies present evidence that
fake reviews written by non-verified customers on Expedia          Airbnb threatens the traditional accommodation market
than on other websites such as TripAdvisor, where anyone           system (Zervas et al., 2018). This website is most interest-
can write reviews. Moreover, as Expedia sends out email            ing to researchers hoping to better understand customers’
requests to everyone who makes purchases through their             behavior in the sharing economy. Due to the peer-to-peer
website, the entire review collection process is similar to a      market nature, previous studies argue that there are unique
survey. Therefore, as long as we know who did not respond          rating behaviors in Airbnb (Ert & Fleischer, 2019). For
to the email request sent by Expedia, we can generalize the        instance, in addition to guests rating service providers,
study results to the population of those who purchased             guests are also evaluated by the host, and these ratings are
through Expedia. This may not be possible when using data          made publicly available as well. Owing to this dual review
from TripAdvisor, as the TripAdvisor customers’ sample             process, suppliers tend to receive overwhelmingly high
frame is unknown.                                                  ratings that are not observed under other hotel review sys-
    On Expedia, users may not need to click the “Next page”        tems (Zervas et al., 2018). Despite these unique features of
button as they do on TripAdvisor. Instead, they must scroll        the sharing economy, little is understood about this system.
down and load older reviews by clicking on the “More               We hope that, by making Airbnb data more accessible, we
reviews” button shown in Figure 5. This is called infinite         can encourage other researchers to further explore the shar-
scrolling. If there is a significant quantity of reviews written   ing economy.
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      The scraping code for Airbnb is a combination of the              Although the scraper should be written differently
  codes used for TripAdvisor and Expedia, as the website ran-       depending on whether the targeted hotel website uses pagi-
  domly changes their review display. That is, when the             nation or ultimate scrolling, the overall process of writing
  WebDriver visits the supplier’s page on Airbnb, the reviews       the scraper remains exactly the same regardless of the target
  are randomly listed either as pagination or infinite scrolling.   website. We include an illustration of Marriott.com in
  Therefore, once the WebDriver opens Airbnb, we need to            Appendix A (along with complete scripts for other travel
  first determine which scraper should be applied based on          sites).
  the HTML structure. Although there are many different
  ways to accomplish this, here we build a check_exists
                                                                    Scraping (Prices) at the Market-Level
  function that checks whether Airbnb reviews are displayed
  in pagination or infinite scrolling.                              While scraping online reviews enable researchers to under-
                                                                    stand customer Word-of-Mouth (WOM) behaviors, scrap-
     1. def check_exists(self, xpath):                              ing prices gives us insight into the market. This requires no
                                                                    major additional functions or methods beyond the scripts
     2.    try:                                                     that we introduced previously for scraping reviews. The
     3.      
             self.find_element_by_xpath                             only difference is that we loop over different hotels within a
             (xpath)                                                specific market instead of different reviews. Remember that
                                                                    our scraping code differs by whether the page uses pagina-
          except NoSuchElementException:
     4.    
                                                                    tion or infinite scrolling. While hotel prices listed on Airbnb
     5.      return False                                           and TripAdvisor are displayed using pagination, hotels on
                                                                    Expedia are listed using infinite scrolling. Therefore, utiliz-
     After building the function that checks which platform         ing the same approach detailed in code Listing 9, we can
  design we have to deal with, we can simply run different          build our scraper for Airbnb and TripAdvisor to collect
  scrapers by writing the following if statement.                   price data and click on the “Next” button to move on to the
                                                                    following pages (see code Listing 11).
     1. 
        # example of xpath that                      uniquely       Listing 11.
        indicates Infinite scrolling                                Click the Next Button to Collect all Hotel Prices.
     2.   xpath = ’.//a[@class=“_16i7snfh”]’
     3. if check_exists(driver, xpath)==True:                          1. next_exists = check_exists(driver, ‘//a
                                                                           [contains(@aria-label, ”Next”)]’)
     4.     # Codes for infinite scrolling
                                                                       2.   if next_exists:
     5. else:
                                                                       3.    
                                                                             e lement=driver.find_elemet_by_
     6.     # Codes for pagination                                           xpath(‘//a[contains(@aria-label,
                                                                             ”Next”)]’)
  Reviews on hotel brand sites. Major hotel brands have their          4.    
                                                                             driver.execute_script(“arguments[0].
  own websites where customers can write reviews about                       click();”, element)
  their experience, just as they can on TripAdvisor or Expe-
  dia. Brands offer up their own reviews in an effort to reduce        In contrast, for Expedia we design the code to scroll
  the need for prospective consumers to visit other travel sites    down until there are no additional listings before document-
  such as TripAdvisor or Expedia. Hotel brands are motivated        ing the hotel prices (see code Listing 11). This approach is
  to do this because reservations made on sites such as Tri-        equivalent to how we scraped the reviews from Expedia in
  pAdvisor and Expedia are more costly to hotels and because        code Listing 12.
  customers who visit these sites may end up booking their
  stay with another company. It is possible that customers          Listing 12.
  who read and write reviews on hotel brand websites differ         Scrolling Down to Collect all Hotel Prices.
  from those who use other platforms where alternative hotel
                                                                       1. 
                                                                          while check_exists(driver, ”.//button
  options are listed. For instance, these customers may be                [contains(@data-stid, ‘show-more
  more loyal to the brand or hoping to have their opinions                -results’)]”):
  heard by the hotel manager rather than by other potential
  customers. Platforms like this, where the user groups differ               more = driver.find_element_by_xpath
                                                                       2.    
                                                                             (“.//button[contains(@datastid,
  from other platforms users, generate lots of interesting
                                                                             ’show-more-results’)]”)
  research opportunities.
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Table 3.
The Number and the Average Length of Reviews Across Three Platforms During 2018–2020.

                                                TripAdvisor                         Expedia                            Hotel Brand
Number of reviews                                   713                               2,089                                1,760
Average review length                              731.12                            119.56                               141.63


     3.    
           driver.execute_script (“arguments[0].                   channel for contacting hotel managers, TripAdvisor might
           click();”, more)                                        be perceived as an appropriate method for reaching other
     4.    time.sleep(1)                                           potential customers. As a result, the dominant valence and
                                                                   topics may differ across platforms.
           containers = driver.find_elements_
     5.                                                               Several noteworthy patterns are frequently observed
           by_xpath(“.//div[contains(@class,
                                                                   across travel platforms. First, a major difference between
           ’link-container’)]”)
                                                                   review platforms is the number of reviews per hotel. To
                                                                   illustrate how a given hotel’s quality might be evaluated dif-
Platform Differences Causing Biases                                ferently by each of the three platforms, we scraped the
                                                                   reviews of the New York Marriott Marquis, which has a
Although collecting and analyzing online review data
                                                                   large number of reviews on TripAdvisor, Expedia, and
broadens our understanding, it is important to mention a
                                                                   Marriott’s own website. For the purposes of this demonstra-
few relevant caveats. Unfortunately, many studies conduct-
                                                                   tion, we utilized reviews written between October 2018 and
ing research using data from online travel sites ignore the
                                                                   December 2019. Table 3 demonstrates that significantly more
biases that arise when using secondary data. Multiple selec-
                                                                   reviews were posted on Expedia and the hotel’s own website
tion biases exist in scraped data, which can impact a
                                                                   than on TripAdvisor. This pattern is particularly interesting
researcher’s ability to draw insights about the target popula-
                                                                   because anyone can post a review on TripAdvisor, whereas
tion (i.e., all customers who stayed at the hotel). In this sec-   only verified guests can post reviews on OTAs and hotel
tion, we present some of the noteworthy differences between        brand sites. A major driver in creating this disparity in the
hotel review platforms that hospitality researchers should         number of reviews across the platforms stems from how the
be aware of before collecting and using web scraped data.          reviews are collected. Expedia and hotels encourage custom-
                                                                   ers to post reviews online by sending post-stay feedback invi-
Review Differences Across Platforms                                tation emails. This pattern holds across different time periods,
                                                                   as shown in Figure 6, where we plot review characteristics
Owing to differences in how reviews are collected and writ-        (number, score, sentiment, and length) on a quarterly basis for
ten, collected reviews may vary in terms of number, valence,       2018 and 2019. The average review length is significantly
and content depending on what hotel review platform they           longer on TripAdvisor than on the other platforms. Self-
were posted on (Litvin & Sobel, 2019). This is true even for       motivated (i.e., non-email prompted) reviewers are more
reviews that were written about the same hotel and during          likely to put greater effort into writing reviews, given that they
the same time period. This is true for a couple of reasons.        have already undertaken the effort of opening TripAdvisor
First, every hotel review platform has its own objectives          and posting a review. Therefore, review length (calculated in
and its own review collection process. To encourage review         number of words) is greatest on TripAdvisor, where most
submission, Expedia sends customers a post-stay email              reviews are self-motivated. After eliminating stop words,
with a link to submit a hotel review. TripAdvisor, however,        which refer to the words that are filtered out due to their
relies fully on customers’ self-motivation to post reviews:        extremely high or low appearances, we counted the words that
unless individual hotels choose to partner with TripAdvisor        appeared on each platform. As is shown in Table 4, the most
to invite their verified customers to post reviews, either by      frequently used words are slightly different depending on the
sending an email or through their online reputation manage-        platform. Unlike Expedia and TripAdvisor, where the most
ment firms (e.g., ReviewPro, Revinate, and Medallia).              frequent word is “room,” the hotel’s own site reviewers are
These differences in the review collection process among           more focused on the hotel location.
these platforms yield systematic differences in terms of the           Finally, the distribution of ratings between the two plat-
review scores and their content. Second, customers may             forms has different patterns, as is shown in Figure 7. The
perceive different platforms as having different audiences.        proportion of relatively negative ratings is higher on
Therefore, different types of customers may prefer different       TripAdvisor than on Expedia or the brand site. Given the
platforms depending on who they hope to reach with their           cost or effort of posting a review on TripAdvisor, customers
review. While customers may perceive distributors’ web-            may be more likely to post if their expectations have not
sites (i.e., a hotel’s own website or Expedia) as a suitable       been met (or have been exceeded), and as a result these
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  Figure 6.
  Differences in Reviews (Number, Score, Sentiment, and Length) by Platform.


  Table 4.                                                   reviews may be more extreme (and perhaps nonrepresenta-
  Top 10 Most Frequently Used Words for the Same             tive; Anderson et al., 1994). In contrast, reviews that were
  Hotel’s Reviews by Platforms.                              more easily posted (due to the email invitation) are less
          TripAdvisor        Expedia        Hotel Brand      likely to be affected by the different posting motivation
                                                             across different ratings. As a result, reviewers that would
   1    room (1,346)     room (754)        location (678)    otherwise have relatively low posting intention (i.e., posi-
   2    time (1,035)     location (691)    room (654)        tive ratings) are able to easily submit their reviews, poten-
   3    stay (659)       time (482)        stay (644)        tially resulting in higher average ratings at sites with email
   4    square (536)     staff (400)       time (562)        encouraged/prompted reviews, for example, OTAs and
   5    location (463)   square (334)      staff (488)       brand sites (Han & Anderson, 2020).
   6    get (367)        stay (288)        square (352)
   7    service (360)    leave (287)       service (295)
   8    one (349)        review (282)      excellent (228)   Price Differences Across Platforms
   9    staff (336)      comments (281)    good (217)
                                                             Next to reviews, prices are among the most interesting data
  10    floor (331)      traveler (281)    clean (210)
                                                             types available across different travel platforms. Just as
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Figure 7.
Distribution of Review Scores by Platform.




Figure 8.
Listing of a Sold-Out Property in Expedia.


with reviews, different platforms have different objectives       information display. Accordingly, it is likely that customers
and different capabilities when presenting prices. As a           behave differently depending on which travel platform they
result, the way in which prices are displayed and communi-        choose (Park & Jang, 2018). Therefore, assuming that all
cated across platforms varies, which may influence custom-        platforms have the same market structure ignores these dif-
ers’ purchasing decisions. For example, Expedia displays          ferences in information stimuli that influence customer
all properties, including those that are sold-out or have lim-    behavior.
ited availability, as is shown in Figure 8. In contrast, other       OTAs are also considerably more versed in merchandis-
travel platforms, such as Airbnb, only list properties that are   ing when displaying price information. Merchandising by
available and have price data to be displayed. Customers          OTAs may include such actions as strike-through pricing or
may behave differently as a result of these differences in        scarcity messaging, which attempt to increase conversion
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  Han and Anderson                                                                                                             101




  Figure 9.
  Different Price Offer to the Members.


  rates. Similarly, rate parity has received considerable atten-      are valuable in their own right, they still require further
  tion recently. While OTAs want to display prices that can           testing in an experimental setting.
  compete with those posted on supplier websites, hotels are              Web scraped data are also often used in confirmatory
  often motivated to offer better prices to customers who             studies that test hypotheses from previous studies (Landers
  book directly to avoid OTA commissions. Closed user                 et al., 2016; Marres & Weltevrede, 2013). If this hypothesis
  group (CUG) or membership selling is a common method                testing investigates whether one of the variables scraped
  of offering lower prices to a subset of consumers. In CUG           from the website is an exogenous variable that varies inde-
  situations, the consumer must login (either at the OTA or           pendently of an error term, this study is considered as an
  hotel site) to access better prices. Figure 9 illustrates strike-   experiment (Harrison & List, 2004). Web scraped data
  through prices and the resulting member rates available to a        enable researchers to conduct experiments in a real environ-
  typical CUG. By definition, CUG discounted prices are               mental context and conduct research without informing
  only available to those who have logged in; the majority of         research subjects that they are taking part in an experiment.
  customers will never see this price disparity. Researchers          This research design is referred to as a natural experiment.
  who analyze the online hotel market using prices scraped            The advantage of a natural experiment is that it accounts
  from travel websites must understand how these distribu-            for the realistic environment that real customers encounter.
  tion channels influence each other.                                 Therefore, an ideal natural experiment not only increases
                                                                      external validity but also does so when internal validity is
                                                                      insufficient (Harrison & List, 2004). For example, Han and
  Implications                                                        Anderson (2020) take advantage of a unique characteristic
  The academic implications of web scraping are twofold:              of TripAdvisor, the fact that a portion of its reviewers post
  exploratory and confirmatory. In general, web scraped               after being prompted to do so by hotel managers. By
  data are suitable for exploratory research where the                comparing regular self-motivated reviews and prompted
  research question has not been examined in detail. The              reviews, the authors test whether satisfied or dissatisfied
  aim of this research area is to understand the general pat-         customers are more motivated to post online reviews. Web
  tern of the customers in question and find preliminary              scraped data can also be combined with data from other
  evidence that warrants a more detailed study. For exam-             sources in confirmatory research. Xie et al. (2014) com-
  ple, Danescu-Niculescu-Mizil et al. (2013) show that                bined TripAdvisor’s review data with archival data regard-
  users in online beer communities follow a two-stage life            ing hotel revenue per available room (RevPAR) matched
  cycle in terms of the language they use: the innovative             to the Texas Comptroller’s Office database to investigate
  learning phase and the conservative phase. Wu and                   the impact of various review website attributes on hotel
  Huberman (2010) found that later online product review              performance.
  ratings tend to vary considerably from earlier ones, mak-               Managers in the hospitality industry can benefit from
  ing overall review ratings less extreme. Although these             web scraping, too. It is well known that customers heavily
  studies demonstrate interesting behavioral patterns and             rely on online reviews before making a purchasing decision
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(Brown et al., 2007; Chevalier & Mayzlin, 2006). Therefore,      of the web scraping practice. By the same token, although
it is important to understand how customers evaluate ser-        web scraping qualifies for Institutional Review Boards
vices. Although there are multiple online reputation man-        (IRBs)’ review exemptions in most of the cases (Massimino,
agement companies that do this job on behalf of firms,           2016), researchers need to be conscientious of any societal
hotels can save money by web scraping themselves. For            entities that may be impacted by web scraping. A common
example, firms can web scrape major online review web-           ethical concern regarding web scraping is related to the
sites in the industry periodically and automate this process,    problem of sending too many requests to the host over a
which is referred to as web crawling (Massimino, 2016).          short span of time. A typical web scraper involves querying
Without spending any extra money, firms can obtain a sum-        a website repeatedly. If overused, this practice can prevent
mary of each online review website. Based on these sum-          others from accessing the website. A web scraper that is
maries, managers can decide which review websites they           written for the purpose of collecting multiple online
should prioritize and invest to maximize the number of           reviews or hotel prices sends requests to the web server
reviews they receive.                                            that is hosting the site whenever it opens a new page. While
                                                                 the requests of a human user are usually within a manage-
                                                                 able range, a web scraper that makes speedy and bulky
Ethical Concerns
                                                                 automated requests can easily exceed the bandwidth
As legislation on web scraping varies from country to coun-      threshold of the host and make the server unresponsive
try, researchers should look into local legislation. In this     (Massimino, 2016). When the web scraper hits the server
section, we discuss the legal and ethical issues mainly in the   with frequent requests, a host may issue a warning or may
U.S. context. On September 9, 2019, the U.S. Supreme             respond with useless content if web scraping behavior is
Court legalized web scraping in situations where the scraped     detected.
information is designed to be publicly accessible. The court        Therefore, we recommend inserting a random delay
defined public information as data that are neither avail-       between individual requests, such as limiting requests to
able for purchase nor hidden behind a password-protected         three per second (Massimino, 2016). For example, Landers
authentication system. The logic behind the court’s decision     et al. (2016) executed a 2-s delay between each web page
was that, legally, web scraping is no different than browsing    request to avoid overburdening the host’s server. In addi-
in terms of what data are being requested from a website.        tion, scraping during off-peak hours can help reduce the
However, web scraping information that is accessible             load on the host and increase the speed of the scraping pro-
exclusively to the members and requires logging in is ille-      cess. Finally, a good practice in web scraping is to carefully
gal, as this behavior explicitly violates the terms of service   read the robots exclusion protocol (REP), which are stan-
(ToS).                                                           dardized instructions on whether certain user agents can
    It is also noteworthy that web scraping copyrighted data     scrape parts of a website. Typically, this information can be
and re-using them for commercial purposes would be con-          found in the admin page of a website.
sidered illegal. For example, web scraping video contents
from YouTube and re-posting them on ones’ own website
could be illegal as videos are copyrighted.
                                                                 Summary
    However, illegally sharing data is not likely a matter of    A growing number of customers not only obtain travel
concern for the majority of our target audience: research-       information online but also make transactions over the
ers who are interested in using web scraping for academic        internet. Studies indicate that the internet (as opposed to
purposes. In addition, web scraping is a relatively new          the offline, voice, or travel agent distribution channels)
data collection method in academia, and therefore the law        has become the dominant distribution channel in terms of
is still evolving (Hillen, 2019). Therefore, researchers         travel reservations (Park, 2009). Therefore, the importance
must take into account that it is always possible that cur-      of studying online customer behaviors cannot be overem-
rent laws regarding web scraping will change and that they       phasized. However, there is a strong tendency among hos-
may need to seek professional legal advice before web            pitality researchers to rely on traditional data collection
scraping.                                                        methods, which are limited in terms of what research ques-
    In addition to legal issues, researchers should also con-    tions they can answer as well as the generalizability of their
sider ethical constraints when collecting data online for        insights. Our work provides a simple method of scraping
academic purposes. As previous studies argue, legality           online reviews and price data using the Python language. As
does not necessarily mean that data usage is entirely ethical    our goal is to make hospitality researchers more comfort-
(Massimino, 2016). Using online data in research is rela-        able collecting online data, we focus on how the scraping
tively new in comparison to other data sources. Therefore,       process functions on major travel websites. Although not a
its current legality suggests a need for further research        comprehensive introduction into Python, we introduce the
regarding the ethicality of web scraped data and the safety      essential elements necessary to handle and scrape interactive
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  Han and Anderson                                                                                                                 103

  hospitality platforms such that they can augment readily           Declaration of Conflicting Interests
  available introductory Python resources.                           The author(s) declared no potential conflicts of interest with
      Although web scraped data introduce incredible oppor-          respect to the research, authorship, or publication of this
  tunities to hospitality researchers, there are important           article.
  aspects that must be accounted for when scraping travel
  websites. As every platform has unique characteristics and         Funding
  purposes, each platform attracts different users, which in         The author(s) received no financial support for the research,
  turn forms a different market. While ignoring these plat-          authorship, or publication of this article.
  form-specific aspects may induce biases in the researchers’
  analyses, properly making use of these challenges may              ORCID iDs
  make platform differences a unique natural experiment set-
  ting for exploring new opportunities. At the same time,            Saram Han     https://orcid.org/0000-0001-9077-9107
                                                                     Christopher K. Anderson         https://orcid.org/0000-0002-7103
  embracing these differences is what provides for fruitful
                                                                     -8351
  research. For instance, the social influence effect, which
  refers to the effect of previous reviews on future reviews,
                                                                     Supplemental Material
  impacts most online review platforms due to the nature of
  being able to see previous reviewers’ opinions. This effect        Supplemental material for this article is available online.
  induces potential biases that are not of concern in tradi-
  tional survey research as there is no chance that survey           References
  participants will see other participants’ opinions before          Anderson, E. W., Fornell, C., & Lehmann, D. R. (1994). Customer
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  prompted reviewers who were invited to contribute their                 and overcoming biases in online review systems. Decision
  opinions using a separate web page where there is a lesser              Support Systems, 97, 23–30.
  chance of seeing previous opinions. Going further, they            Brown, J., Broderick, A. J., & Lee, N. (2007). Word of mouth
                                                                          communication within online communities: Conceptualizing
  compare this group of reviews to the regular, organic
                                                                          the online social network. Journal of Interactive Marketing,
  reviews using the difference-in-difference method, and                  21(3), 2–20. https://doi.org/10.1002/dir.20082
  make use of the challenge to identify the social influence         Chevalier, J. A., Dover, Y., & Mayzlin, D. (2018). Channels of
  effect in the online communities. Another example of turn-              impact: User reviews when quality is dynamic and managers
  ing the challenge into opportunity is the study of Wang and             respond. Marketing Science, 37, 685–853.
  Chaudhry (2018). Many online hotel review platforms                Chevalier, J. A., & Mayzlin, D. (2006). The effect of word of
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  may influence future reviewers’ opinions. While the mana-               Research, 43(3), 345–354. https://doi.org/10.1509/jmkr.43
  gerial response could present a challenge for researchers               .3.345
  who want to understand the unbiased opinions of the                Choi, S., Mattila, A. S., Van Hoof, H. B., & Quadri-Felitti, D.
  reviewers, Wang and Chaudhry (2018) identified the man-                 (2017). The role of power and incentives in inducing fake
                                                                          reviews in the tourism industry. Journal of Travel Research,
  agerial response effect by comparing ratings from online
                                                                          56(8), 975–987.
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  with ratings from platforms where managerial responses                  J., & Potts, C. (2013). No country for old members.
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  researchers who hope to better understand the online travel             Association for Computing Machinery. https://doi.org
  marketplace. We outline simple methods that enable hospi-               /10.1145/2488388.2488416
  tality researchers to collect incredibly useful secondary data     Downey, A. (2014). Think Python: How to think like a computer
  that they could not have obtained by relying on traditional             scientist. Green Tea Press.
  data collection methods alone. Although traditional data           Ert, E., & Fleischer, A. (2019). The evolution of trust in Airbnb:
  collection methods are still valuable and, in many cases,               A case of home rental. Annals of Tourism Research, 75,
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  cannot be replaced by new methods, online customer behav-
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  iors are hardly replicable in offline research design. Even if          An analysis of consistency in behavior of reviewers and
  the purpose of the research is to make a causal inference               helpfulness of their reviews. Decision Support Systems, 95,
  that can only be tested in a strict lab setting, confirming this        1–11.
  effect in the real online marketplace adds value to the study      Han, S., & Anderson, C. K. (2020). Customer motivation
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    in live social research. Journal of Cultural Economy, 6(3),       Zervas, G., Proserpio, D., & Byers, J. (2018). A first look at
    313–335.                                                              online reputation on Airbnb, where every stay is above aver-
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Shin, H., Perdue, R. R., & Pandelaere, M. (2019). Managing cus-       his BSc/MSc in engineering from the University of Guelph, and
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    perspective. Journal of Travel Research, 59, 792–810. https://    Ivey School of Business. He teaches and conducts research in data
    doi.org/10.1177/0047287519867138                                  analytics, pricing, distribution, and revenue management.
